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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


     In re:                                                           Chapter 11

     GVS TEXAS HOLDINGS I, LLC, et al., 1                             Case No. 21-31121-MVL

                             Debtors.                                 (Jointly Administered)



                    FOURTH AMENDED JOINT CHAPTER 11 PLAN OF
               GVS TEXAS HOLDINGS I, LLC AND ITS DEBTOR AFFILIATES


 SIDLEY AUSTIN LLP
 Thomas R. Califano (10369867)
 Charles M. Persons (24060413)
 Maegan Quejada (24105999)
 Jeri Leigh Miller (24102176)
 Juliana L. Hoffman (24106103)
 2021 McKinney Ave
 Suite 2000
 Dallas, Texas 75201
 Telephone: (214) 981-3300
 Facsimile: (214) 981-3400

 Counsel for the Debtors and
 Debtors in Possession


 Dated: February 1, 2022




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: GVS Texas Holdings I, LLC (7458); GVS Texas Holdings II, LLC (1225); GVS Portfolio
 I, LLC (6441); GVS Portfolio I B, LLC (7171); GVS Portfolio I C, LLC (3093); WC Mississippi Storage Portfolio I,
 LLC (0423); GVS Nevada Holdings I, LLC (4849); GVS Ohio Holdings I, LLC (6449); GVS Missouri Holdings I,
 LLC (5452); GVS New York Holdings I, LLC (5858); GVS Indiana Holdings I, LLC (3929); GVS Tennessee
 Holdings I, LLC (5909); GVS Ohio Holdings II, LLC (2376); GVS Illinois Holdings I, LLC (9944); and GVS
 Colorado Holdings I, LLC (0408). The location of the Debtors’ service address is: 814 Lavaca Street, Austin, Texas
 78701.
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         GVS Texas Holdings I, LLC, a Delaware limited liability company, GVS Texas Holdings
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 company, GVS Portfolio I B, LLC, a Delaware limited liability company, GVS Portfolio I C, LLC,
 a Delaware limited liability company, WC Mississippi Storage Portfolio I, LLC, a Delaware
 limited liability company, GVS Nevada Holdings I, LLC, a Delaware limited liability company,
 GVS Ohio Holdings I, LLC, a Delaware limited liability company, GVS Ohio Holdings II, LLC,
 a Delaware limited liability company, GVS Missouri Holdings I, LLC, a Delaware limited liability
 company, GVS New York Holdings I, LLC, a Delaware limited liability company, GVS Indiana
 Holdings I, LLC, a Delaware limited liability company, GVS Tennessee Holdings I, LLC, a
 Delaware limited liability company, GVS Illinois Holdings I, LLC, a Delaware limited liability
 company, and GVS Colorado Holdings I, LLC a Delaware limited liability company (each
 a “Debtor”) and collectively, the “Debtors”) propose this third amended joint chapter 11 plan
 (this “Plan”) for the resolution of the outstanding claims against, and equity interests in, the
 Debtors. Although proposed jointly for administrative purposes, this Plan constitutes a separate
 Plan for each Debtor. Holders of Claims or Interests may refer to the Disclosure Statement for a
 discussion of the Debtors’ history, business, assets, results of operations, historical financial
 information, risk factors, marketing process, a summary and analysis of this Plan, and certain
 related matters.

       ALL HOLDERS OF CLAIMS AND INTERESTS ARE ENCOURAGED TO READ
 THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY.

                                   ARTICLE I
                   DEFINED TERMS AND RULES OF INTERPRETATION

    A. Defined Terms

        As used in this Plan, capitalized terms have the meanings set forth below.

         1.      “Administrative Expense Claim(s)” means a Claim for costs and expenses of
 administration of the Chapter 11 Cases arising on or after the Petition Date and until and including
 the Effective Date that is allowable under section 503(b) of the Bankruptcy Code and entitled to
 priority under sections 507(a)(2) or 507(b) of the Bankruptcy Code that has not already been paid,
 including: (a) the actual and necessary costs and expenses of preserving the Estates and operating
 the Debtors’ businesses; (b) the Professional Claims; and (c) all fees and charges assessed against
 the Estates pursuant to section 1930 of chapter 123 of title 28 of the United States Code.

          2.     “Administrative Expense Claims Bar Date” means the deadline for Filing requests
 for payment of Administrative Expense Claims, which: (a) with respect to General Administrative
 Expense Claims other than those that were accrued in the ordinary course of business, shall be
 thirty (30) days after the Effective Date; and (b) with respect to Professional Claims, shall be forty-
 five (45) days after the Effective Date.

        3.      “Affiliate(s)” has the meaning set forth in section 101(2) of the Bankruptcy Code.
 With respect to any Person or Entity that is not a Debtor, the term “Affiliate” shall apply to such
 Persons or Entity as if the Person or Entity were a Debtor.




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         4.      “Allowed” means a Claim or Interest (or portion thereof) that (a) is listed in the
 Schedules, which may be amended by the Debtors, as neither disputed, contingent, nor
 unliquidated and with respect to which no claim objection or contrary or superseding Proof of
 Claim has been Filed, and that has not been paid pursuant to an order of this Court or otherwise
 satisfied prior to the Effective Date; (b) is evidenced by a Proof of Claim Filed on or before the
 applicable Bar Date for which no objection has been Filed on or before the Claims Objection
 Deadline; (c) is not the subject of an objection to allowance that was Filed on or before the Claim
 Objection Deadline that has not been settled, waived, withdrawn, or denied pursuant to a Final
 Order; or (d) is expressly allowed (i) pursuant to a Final Order, (ii) pursuant to an agreement
 between the Holder of such Claim or Interest and the Debtors, or (iii) pursuant to the terms of this
 Plan; provided, however that proofs of interest need not be Filed with respect to any Interest. A
 Claim evidenced by a Proof of Claim Filed after the applicable Bar Date shall not be Allowed for
 any purpose whatsoever absent entry of a Final Order allowing such late-Filed Claim, except as
 otherwise provided by Bankruptcy Rules 3002(c) and 3003(c).

        5.     “APA” means the Asset Purchase Agreement executed by and between the Debtors
 and the Purchaser.

        6.      “Assets” means the Debtors’ real and personal property assets.

         7.     “Assignable Contract(s)” means the Executory Contracts and/or Unexpired Leases
 identified by the Purchaser in the Assumption Notice as Executory Contracts and/or Unexpired
 Leases that may be assumed and assigned in accordance with the APA.

        8.     “Assumed Liabilities” has the meaning set forth in the APA (or such other similar
 term as may be used in the APA).

        9.      “Assumption Notice” means the notice of Assignable Contracts that the Debtors
 and Purchaser believe may be assumed and assigned in connection with the APA, along with a
 good faith estimate of the amount of Cure costs applicable to each Assignable Contract.

        10.     “Auction” means the auction process conducted in connection with the Sale.

        11.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
 1532, as in effect on the Petition Date, together with all amendments, modifications, and
 replacements of the foregoing that are made retroactive to the Petition Date, as the same may exist
 on any relevant date to the extent applicable to the Chapter 11 Cases.

       12.     “Bankruptcy Rule(s)” means the Federal Rules of Bankruptcy Procedure
 promulgated under section 2075 of title 28 of the United States Code and the general, local, and
 chambers rules of the Court, each as amended from time to time.

        13.    “Bar Date” means, (a) with respect to any Entity that is not a Governmental Unit
 or Customer, October 25, 2021, (b) with respect to a Governmental Unit, January 22, 2022, each
 of which were the dates set by the Court via docket text entry and listed in the Notice of
 Commencement as the date by which Proofs of Claim must be Filed with respect to Claims other
 than Administrative Expense Claims or other Claims for which the Court enters an order excluding



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 the Holders of such Claims from the requirement of Filing Proofs of Claim by such date; and
 (c) with respect to Customers, February 28, 2022 at 4:00 p.m. (prevailing Central Time).

        14.    “Bid Procedures” means those certain bidding procedures set forth as Exhibit 1 to
 the Bid Procedures Order, as such procedures may be amended from time to time thereafter in
 accordance with the Bid Procedures Order.

        15.    “Bid Procedures Order” means the Order (I) Approving Bidding Procedures in
 Connection with the Sale of Substantially all of the Debtors’ Assets; (II) Approving Procedures
 for the Assumption and Assignment of Executory Contracts and Unexpired Leases; and (III)
 Granting Related Relief [Docket No. 318] entered on November 10, 2021.

        16.   “Business Day” means any day other than a Saturday, Sunday, or other day on
 which the New York Stock Exchange or NASDAQ is closed for trading.

        17.     “Cash” means cash in legal tender of the United States of America and cash
 equivalents, including bank deposits, checks, and other similar items.

         18.     “Causes of Action” means any Claims, interests, damages, remedies, causes of
 action, demands, rights, actions, suits, obligations, liabilities, accounts, defenses, offsets, powers,
 privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
 whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
 contingent or non-contingent, liquidated or unliquidated, secured or unsecured, assertable, directly
 or derivatively, matured or unmatured, suspected or unsuspected, in contract, tort, law, equity, or
 otherwise. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment;
 (b) claims under contracts or for breaches of duties imposed by law; (c) the right to object to or
 otherwise contest Claims or Interests; (d) claims pursuant to sections 362, 510, 542, 543, 544
 through 550, or 553 of the Bankruptcy Code; (e) such claims and defenses as fraud, mistake,
 duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; and (f)
 any claim under any state or foreign law, including, without limitation, any fraudulent transfer or
 similar claim.

        19.     “Chapter 11 Cases” means the cases filed by the Debtors under chapter 11 of the
 Bankruptcy Code and jointly administered for procedural purposes only as case number 21-31121
 pending in the Court.

         20.     “Claim(s)” means any claim, as defined in section 101(5) of the Bankruptcy Code,
 against any of the Debtors.

         21.    “Claim Estimation Procedures” means the procedures approved in the Order
 Determining Procedures for Estimating Claims Pursuant to 11 U.S.C. §§ 105(a) and 502(c)
 [Docket No. 442] and the estimates provided in the Amended Supplement to the Debtors’ Motion
 for Order Determining Procedures for Estimating Claims Pursuant to U.S.C. §§ 105(a) and 502(c)
 [Docket No. 453], which estimate all but the following three claims set forth therein at $0.00.
 Claims estimated with a value greater than zero are: (a) the Claim of Princeton Capital Corporation,
 which shall be estimated at $10,000,000; (b) the Claim of American Builders & Contractor Supply,
 which shall be estimated at $118,918; and (c) the Claim of Melvin Van Brookshire, which shall
 be estimated at $487,977.32.


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        22.     “Claim Objection Deadline” means the deadline for Filing an objection to any
 Claim, which deadline shall be thirty (30) days after the Effective Date, subject to any extensions
 approved by an order of the Court; provided however, that the Claims Objection Deadline shall
 not apply to any Claims Filed after the applicable Bar Date.

         23.     “Claims and Balloting Agent” means Omni Agent Solutions, the notice, claims,
 and solicitation agent retained by the Debtors in these Chapter 11 Cases.

        24.    “Claims Register” means the official register of Claims maintained by the Claims
 and Balloting Agent.

        25.    “Class” means a category of Holders of Claims or Interests pursuant to sections
 1122(a) and 1123(a) of the Bankruptcy Code.

        26.     “Closing” means such date as set forth in the APA, upon which the Sale will close.

        27.     “CM/ECF” means the Court’s Case Management and Electronic Case Filing
 system.

        28.     “Conditions Precedent” has the meaning set forth in Section IX herein.

        29.    “Confirmation” means the entry of the Confirmation Order on the docket of these
 Chapter 11 Cases.

         30.   “Confirmation Hearing” means the hearing(s) before the Court under section 1128
 of the Bankruptcy Code at which the Debtors seek entry of the Confirmation Order.

         31.    “Confirmation Order” means the order of the Court confirming this Plan under
 section 1129 of the Bankruptcy Code.

        32.     “Consummation” means the occurrence of the Effective Date.

        33.    “Court” means the United States Bankruptcy Court for the Northern District of
 Texas, Dallas Division.

         34.    “Cure” means payment of all amounts, including an amount of $0.00, required to
 cure any monetary defaults under any Executory Contracts or Unexpired Leases (or such lesser
 amount as may be agreed upon by the parties to the Executory Contract or Unexpired Lease) that
 are to be assumed and assigned by the Debtors pursuant to section 365 or 1123 of the Bankruptcy
 Code.

        35.      “Customer(s)” means the individual(s) and/or entity(ies) who have entered into
 contracts for self-storage units located on the real property of the PropCo Debtors.

        36.     “D&O Liability Insurance Policies” means all insurance policies issued at any time
 to any of the Debtors for directors’, managers’, and officers’ liability existing as of the Petition
 Date (including any “tail policy” or run-off coverage) and all agreements, documents, or
 instruments relating thereto.


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        37.    “Debtor(s)” has the meaning ascribed to it in the recitals, along with any
 post-confirmation successor or assign.

         38.    “Debtor Release” means the release of the Debtor Released Parties as provided for
 in Section VIII.C.

        39.     “Debtor Released Parties” means, collectively, (a) the Debtors; (b) the Liquidating
 Debtors; (c) Robert D. Albergotti, in every capacity in which he serves; (d) each of the Debtors’
 Professionals; and (e) the Purchaser.

        40.     “Debtor Releasing Parties” shall have the meaning ascribed to such term in Section
 VIII.C.1 herein.

         41.     “Designation Deadline” means such date that is on or before five (5) Business Days
 prior to the Closing of the Sale.

        42.     “Disallowed” means a Claim or an Interest (or portion thereof) that has been
 disallowed, denied, dismissed, or overruled pursuant to this Plan or a Final Order of the Court or
 of any other court of competent jurisdiction.

        43.    “Disbursing Agent” means the Liquidating Debtors or such other Entity designated
 by the Liquidating Debtors to hold and disburse the Plan Distributions to Holders of Allowed
 Claims, Allowed Interests, or other eligible Entities pursuant to the terms of this Plan.

         44.   “Disclosure Statement” means the disclosure statement for this Plan, filed
 contemporaneously herewith and incorporated herein by reference (as such may be amended,
 modified, or supplemented from time to time hereafter), including all exhibits and schedules
 thereto.

         45.   “Disclosure Statement Hearing” means the hearing held by the Bankruptcy Court
 on the approval of the Disclosure Statement, as such hearing may be continued from time to time.

        46.     “Disputed” means a Claim or an Interest (or portion thereof), (a) that is neither an
 Allowed Claim nor a Disallowed Claim; (b) that is listed on the Schedules as “disputed,”
 “unliquidated,” or “contingent”; or (c) for which a timely objection to such Claim has been Filed,
 which objection has not been withdrawn or determined pursuant to a Final Order.

         47.    “Disputed Claims Reserve Account” shall have the meaning ascribed to such term
 in Section IV.D herein.

        48.    “Disputed Claims Reserve Funds” shall have the meaning ascribed to such term in
 Section IV.D herein.

        49.    “Distribution Date” means the date or dates determined by the Debtors or
 Liquidating Debtors, as applicable, on or after the Effective Date and with the first such date
 occurring on or as soon as is reasonably practicable after the Effective Date, upon which the
 Disbursing Agent shall make Plan Distributions in accordance with the terms of this Plan.



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        50.     “Distribution Record Date” means the record date for purposes of making Plan
 Distributions under this Plan, which date shall be the Effective Date.

          51.    “Distribution Waterfall” means the relative priority of Claims and Interests by
 which the Sale Proceeds shall be distributed, with distributions applied as follows: first, to the
 Holders of Senior Lender Claims; second, to the Holders of the PropCo Debtor Priority Claims;
 third, to the Holders of the PropCo Debtor General Unsecured Claims; fourth, to the Holders of
 the Senior Mezz Lender Claims; fifth, to the Holders of the Senior Mezz Debtor Priority Claims;
 sixth, to the Holders of the Senior Mezz Debtor General Unsecured Claims; seventh, to the Holders
 of Junior Mezz Lender Claims; eighth, to the Holders of the Junior Mezz Debtor Priority Claims;
 ninth, to the Holders of the Section 510(a) Subordinated Claims; tenth, to the Holders of the Junior
 Mezz Debtor General Unsecured Claims; eleventh, to the Holders of the Junior Mezz Debtor
 Interests; and twelfth to the Holders of the TopCo Debtor Interests; provided, however, that no
 Claims or Interests shall receive its respective distribution unless and until all statutorily and/or
 structurally senior Claims or Interests are reserved for or satisfied in full.

        52.    “Effective Date” means the date that is the first Business Day after Confirmation
 on which all Conditions Precedent have been satisfied or waived in accordance with this Plan and
 the Confirmation Order.

         53.    “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         54.   “Estate(s)” means the estate(s) of any of the Debtors created under sections 301 and
 541 of the Bankruptcy Code upon the commencement of each of the Debtors’ Chapter 11 Cases.

         55.     “Exculpated Parties” means, collectively, and in each case in their capacity as such:
 (a) the Debtors, (b) the Liquidating Debtors, and (c) with respect to each of the foregoing Entities,
 each of their respective Related Persons that served in such capacity.

         56.    “Exculpation” means the exculpation provision set forth in Section VIII.E hereof.

         57.     “Executory Contract” means a contract to which one or more of the Debtors is a
 party that is subject to assumption, assumption and assignment, or rejection under section 365 of
 the Bankruptcy Code.

         58.     “Existing Equity” means Natin Paul as the sole owner of 100% common units,
 either directly or indirectly, in the Debtors.

         59.    “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition
 Date.

        60.     “File,” “Filed,” or “Filing” means file, filed, or filing with the Court or its
 authorized designee in these Chapter 11 Cases.

         61.    “Final Order” means an order or judgment, as applicable, of the Court or other court
 of competent jurisdiction, with respect to the relevant subject matter, that has not been reversed,
 stayed, modified, or amended, and as to which the time to appeal or seek certiorari has expired and
 no appeal or petition for certiorari has been timely taken, or as to which any appeal that has been


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 taken or any petition for certiorari that has been or may be filed has been resolved by the highest
 court to which the order or judgment could be appealed or from which certiorari could be sought
 or the new trial, reargument, or rehearing shall have been denied, resulting in no modification of
 such order or judgment, or has been otherwise dismissed with prejudice.

        62.     “General Administrative Expense Claim(s)” means an Administrative Expense
 Claim other than a Professional Claim.

         63.     “General Unsecured Claim(s)” means unsecured claim(s) that is not entitled to
 priority under the Bankruptcy Code and that is not an Intercompany Claim.

        64.     “Getzler Henrich” means Getzler Henrich & Associates LLC.

      65.     “Governance Order” means the Governance Order [Docket No. 319] entered
 November 10, 2021.

       66.    “Governmental Unit” has the meaning set forth in section 101(27) of the
 Bankruptcy Code.

        67.     “Holder(s)” means an Entity holding a Claim or Interest, as applicable.

        68.     “Houlihan” means Houlihan Lokey Capital, Inc.

         69.    “Impaired” means a Class of Claims or Interests that is impaired within the meaning
 of section 1124 of the Bankruptcy Code.

         70.     “Insurance Contracts” means all insurance policies, including the D&O Liability
 Insurance Policies, that have been issued (or provide coverage) at any time to any of the Debtors
 (or any of their predecessors) and all agreements, documents, or instruments relating thereto.

         71.     “Insurer” means any Entity that issued an Insurance Contract and includes any
 third-party administrator of or for any Insurance Contract, along with any predecessors, successors,
 and/or Affiliates thereof.

        72.     “Intercompany Claim(s)” means a Claim held by a Debtor against another Debtor.

         73.     “Interest(s)” means (a) any equity security (as defined in section 101(16) of the
 Bankruptcy Code) in any Debtor that existed immediately prior to the Petition Date, including all
 units, shares, common stock, preferred stock, membership interests, and other instruments
 evidencing any fixed or contingent ownership in any Debtor or any rights to purchase or demand
 the issuance of any of the foregoing (including options, warrants, stock appreciation rights,
 phantom stock rights, restricted stock units, redemption rights, repurchase rights, or convertible,
 exercisable, or exchangeable securities); or (b) any other agreement, arrangement, or commitment
 of any character relating to, or whose value is related to, any of the foregoing.

        74.    “Intercreditor Agreement” means the Intercreditor Agreement by and between the
 Senior Lender, the Senior Mezz Lender, and the Junior Mezz Lender, dated November 30, 2018.



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         75.     “Junior Mezz Debtor” means GVS Portfolio I B, LLC.

        76.     “Junior Mezz Debtor General Unsecured Claim(s)” means the General Unsecured
 Claim(s) held at the Junior Mezz Debtor level.

         77.     “Junior Mezz Debtor Interests” means the Interests held in the Junior Mezz Debtor.

         78.    “Junior Mezz Debtor Priority Claim(s)” means the Claims entitled to priority under
 section 507 of the Bankruptcy Code that are asserted against the Junior Mezz Debtor.

         79.     “Junior Mezz Lender” means the holder of the Junior Mezz Loan.

        80.     “Junior Mezz Lender Claim(s)” means the Claims held by the Junior Mezz Lender
 pursuant to the Junior Mezz Loan.

        81.   “Junior Mezz Loan” means a consolidated mezzanine facility in the principal
 amount of $82 million made to GVS Portfolio I B, LLC, which is now held by the Junior Mezz
 Lender.

         82.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        83.    “Liquidating Debtor(s)” means, any Debtor or any successor or assign thereto, by
 merger, consolidation, or otherwise, on or after the Effective Date.

        84.    “Mortgage Loan” means that certain Loan Agreement, dated as of November 30,
 2018, by and between the Original Lender, and the PropCo Debtors (as amended, restated,
 supplemented, or otherwise modified from time to time).

        85.     “Net Sale Proceeds” shall mean the Sale Proceeds, less actual and customary
 closing costs and expenses incurred by the Debtors in connection with such Sale.

         86.     “Non-Debtor Releasing Parties” means, collectively, the following, in each case in
 their capacity as such unless noted otherwise: (a) the Holders of Unimpaired Claims or Interests,
 to the extent such Holder has not returned an Opt-Out Form by the Opt-Out Deadline; and (b) to
 the extent any Class is deemed Impaired, each Holder of an Impaired Claim or Interest that (i)
 votes to accept the Plan or (ii) either (1) abstains from voting or (2) votes to reject the Plan and, in
 the case of either (ii)(1) or (2), does not complete the Opt-Out Form by the Opt-Out Deadline.

        87.    “Opt-Out Deadline” means on or before 4:00 p.m. (prevailing Central Standard
 Time) on a date that is no earlier than twenty-eight (28) days following distribution of the notice
 of Confirmation Hearing to the applicable Holders of Claims and Interests.

         88.     “Opt-Out Form” means the form to be completed and returned by the Opt-Out
 Deadline by a Holder of a Claim or Interest if such Holder elects to opt-out of the consensual
 third-party releases set forth in Section VIII.C herein.

        89.    “Original Lender” means UBS AG, as original lender under each of the Mortgage
 Loan, the Senior Mezz Loan, and the Junior Mezz Loan.


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        90.     “Other Priority Claim(s)” means any Claim other than an Administrative Expense
 Claim or Priority Tax Claim that is entitled to priority in right of payment under section 507(a) of
 the Bankruptcy Code.

          91.     “Other Secured Claim(s)” means any Secured Claim, including any Secured Tax
 Claim, other than a Senior Lender Claim, a Senior Mezz Lender Claim, or a Junior Mezz Lender
 Claim. Other Secured Claims includes any Claim arising under, derived from, or based upon any
 letter of credit issued in favor of one or more Debtors, the reimbursement obligation for which is
 either secured by a Lien on collateral or is subject to a valid right of setoff pursuant to section 553
 of the Bankruptcy Code.

        92.    “Parent Petition Date” means June 23, 2021, which is the date GVS Portfolio I C,
 LLC filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the Court.

        93.     “Person(s)” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         94.    “Petition Date” means the Subsidiaries Petition Date together with the Parent
 Petition Date.

        95.     “Plan” has the meaning ascribed to it in the recitals.

        96.   “Plan Distribution” means payment(s) or distribution(s) to Holders of Allowed
 Claims, Allowed Interests, or other eligible Entities under this Plan.

        97.     “Plan Objection Deadline” means the date set by the Court as the deadline for any
 Person(s) to File an objection to Confirmation of this Plan.

        98.     “Plan Supplement” means those documents and forms of documents, agreements,
 schedules, and exhibits to this Plan, which shall be Filed by the Debtors no later than seven (7)
 days before the Plan Objection Deadline, or such later date as may be approved by the Court.

        99.     “Priority Claim(s)” means a Priority Tax Claim or Other Priority Claim.

         100. “Priority Tax Claim(s)” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

         101. “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in
 a particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that
 Class.

        102. “Professional” means an Entity either (a) employed pursuant to a Court order in
 accordance with sections 327, 328, 363, or 1103 of the Bankruptcy Code to be compensated for
 services rendered prior to or on the Effective Date in accordance with sections 327, 328, 329, 330
 331, or 363 of the Bankruptcy Code, as applicable; or (b) awarded compensation and
 reimbursement by the Court pursuant to section 503(b)(4) of the Bankruptcy Code.

        103. “Professional Claim(s)” means a Claim by a Professional seeking an award by the
 Court of compensation for services rendered or reimbursement of expenses incurred through and


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 including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5)
 of the Bankruptcy Code.

         104. “Professional Claim Reserve Account” means a reserve account in an amount equal
 to the Professional Claim Reserve Amount funded and maintained by the Debtors on the Effective
 Date solely for the purpose of paying Allowed but unpaid Professional Claims and other
 Administrative Expense Claims on account of the Professionals.

         105. “Professional Claim Reserve Amount” means the aggregate amount of unpaid and
 estimated Professional Claims and other Administrative Expense Claims on account of the
 Professionals (including any transaction or success fees of investment bankers and/or independent
 directors) incurred upon, and after giving effect to the occurrence of, the Effective Date to be paid
 by the Debtors, less the total of any retainers held by the Professionals.

        106. “Proof of Claim” means a proof of claim Filed against any of the Debtors in these
 Chapter 11 Cases on or before the applicable Bar Date.

       107. “PropCo(s)” or “ProCo Debtor(s)” means the following Debtors: GVS Colorado
 Holdings I, LLC, GVS Illinois Holdings I, LLC, GVS Indiana Holdings I, LLC, GVS Missouri
 Holdings I, LLC, WC Mississippi Storage Portfolio I, LLC, GVS Nevada Holdings I, LLC, GVS
 New York Holdings I, LLC, GVS Ohio Holdings I, LLC, GVS Ohio Holdings II, LLC, GVS
 Tennessee Holdings I, LLC, GVS Texas Holdings I, LLC, and GVS Texas Holdings II, LLC.

        108. “PropCo Debtor General Unsecured Claim(s)” means the General Unsecured
 Claim(s) asserted against a PropCo Debtor.

         109. “PropCo Debtor Priority Claim(s)” means the Claims entitled to priority under
 section 507 of the Bankruptcy Code asserted against a PropCo Debtor.

         110. “Proposed Lender Resolutions” means the terms of settlements resolving the claims
 of the Senior Lender, Senior Mezz Lender, and Junior Mezz Lender [Docket Nos. 523, 535, and
 578], which are currently before the Court for approval pursuant to Bankruptcy Rule 9019.

        111. “Purchaser” means the purchaser or purchasers under the APA, together with their
 successors and permitted assigns.

         112. “Related Persons” means, with respect to any Person, such Person’s predecessors,
 successors, assigns, and present and former Affiliates (whether by operation of law or otherwise)
 and each of their respective subsidiaries, and each of their respective current and former officers,
 directors, principals, employees, shareholders, members (including ex officio members and
 managing members), managers, managed accounts or funds, management companies, fund
 advisors, advisory board members, partners, agents, financial advisors, attorneys, accountants,
 investment bankers, investment advisors, consultants, representatives, and other professionals, in
 each case acting in such capacity at any time on or after the Petition Date, and any Person claiming
 by or through any of them, including such Related Persons’ respective heirs, executors, estates,
 servants, and nominees; provided, however, that Natin Paul, Sheena Paul, Barbara Lee, Great
 Value Storage, LLC, World Class Capital Group LLC, any non-Debtor Affiliate, or an Insurer of
 any Debtor shall not constitute a Related Person of any Debtor or Liquidating Debtor.


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         113. “Release” means the release given by the Releasing Parties to the Released Parties
 as set forth in Section VIII.C hereof.

         114. “Released Party” and, collectively, the “Released Parties” means each of the
 following, in each case in their capacity as such: (a) Debtor Released Parties; and (b) the respective
 Related Persons of each of the Entities described in the foregoing clause (i), in any and all of their
 capacities, including, without limitation, as employee, director, officer, creditor or stockholder.

        115.    “Releasing Party” has the meaning set forth in Section VIII.C.2 hereof.

         116. “Revised Bid Procedures” means the revised bid procedures filed at Docket
 No. 550 and providing for, among other things, the Debtors’ designation of a stalking horse bidder
 and related bid protections.

       117. “Sale” means the sale of some or all of the Debtors’ Assets pursuant to the Bid
 Procedures, Revised Bid Procedures, and Bid Procedures Order.

         118. “Sale Documents” means the APA and any other document, agreement, certificate
 or instrument entered into in connection with the Sale.

         119. “Sale Order” means one or more orders of the Court, including the Confirmation
 Order, in form satisfactory to the Debtors, approving the consummation of the applicable Sale.

        120. “Sale Proceeds” means the Cash and non-Cash consideration provided by the
 Purchaser in connection with any Sale.

          121. “Schedule(s)” means, with respect to each Debtor, the schedule of assets and
 liabilities and statements of financial affairs, as such may be further amended, modified, or
 supplemented from time to time by such Debtor at any point prior to the Effective Date and Filed
 by such Debtor with the Court pursuant to section 521 of the Bankruptcy Code and Bankruptcy
 Rule 1007.

        122. “Schedule of Retained Causes of Action” means the schedule of certain Causes of
 Action of the Debtors that are not released or waived pursuant to the Plan, as such schedule may
 be amended, modified, or supplemented from time to time.

          123. “Section 510(a) Subordinated Claims” means any Claim against any of the Debtors
 that is subject to subordination under section 510(a) of the Bankruptcy Code.

        124. “Secured Claim(s)” means a Claim: (a) secured by a valid, perfected, and
 enforceable Lien on collateral to the extent of the value of such collateral, as determined in
 accordance with section 506(a) of the Bankruptcy Code; or (b) subject to a valid right of setoff
 pursuant to section 553 of the Bankruptcy Code.

         125. “Secured Tax Claim(s)” means any Secured Claim that, absent its Secured Claim
 status, would be entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy
 Code (determined irrespective of time limitations), including any related Secured Claim for
 penalties.


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        126.    “Securities” means any security, as defined in section 2(a)(1) of the Securities Act.

        127. “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C.
 §§ 77a-77aa, or any similar federal, state, or local law.

        128.    “Senior Lender” means holder of the Mortgage Loan.

       129. “Senior Lender Claim(s)” means the Claims held by the Senior Lender pursuant to
 the Mortgage Loan.

        130.    “Senior Mezz Debtor” means GVS Portfolio I, LLC.

        131. “Senior Mezz Debtor General Unsecured Claim(s)” means the General Unsecured
 Claim(s) asserted against the Senior Mezz Debtor.

         132. “Senior Mezz Debtor Priority Claim(s)” means the Claims entitled to priority under
 section 507 of the Bankruptcy Code asserted against the Senior Mezz Debtor.

        133.    “Senior Mezz Lender” means holder of the Senior Mezz Loan.

        134. “Senior Mezz Lender Claim(s)” means the Claims held by the Senior Mezz Lender
 pursuant to the Senior Mezz Loan.

        135. “Senior Mezz Loan” means the mezzanine loan in the original principal amount of
 $103 million made by the Original Lender to GVS Portfolio I, LLC, which is now held by the
 Senior Mezz Lender.

         136. “Solicitation Notice” means, in the event there are insufficient Net Sale Proceeds
 to reserve for or satisfy in full all Claims and Interests, the notice Filed by the Debtors no later
 than fifteen (15) days after the Filing of the notice identifying the Successful Bidder (pursuant to
 the Bid Procedures Order), which shall commence the Solicitation Period.

         137. “Solicitation Period” means the thirty-one (31) day period for the Debtors to solicit
 votes to accept or reject the Plan in the event there are insufficient Net Sale Proceeds to reserve
 for or satisfy in full any Classes of Claims or Interests; provided, however, that the solicitation of
 votes shall apply only to the Holders of Claims or Interests that are not satisfied in full from the
 Net Sale Proceeds.

        138. “Subsidiaries Petition Date” means June 17, 2021, which is the date each of the
 Debtors, with the exception of GVS Portfolio I C, LLC filed voluntary petitions for relief under
 chapter 11 of the Bankruptcy Code in the Court.

        139. “Third Party Release” means the consensual releases of the Released Parties by the
 Releasing Parties provided for in Section VIII.C.2.

        140.    “TopCo Debtor” means GVS Portfolio I C, LLC.




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       141. “TopCo Debtor Interests” means the Interests held either directly or indirectly by
 World Class in GVS Portfolio I C, LLC.

         142. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
 that is subject to assumption, assumption and assignment, or rejection under section 365 of the
 Bankruptcy Code.

        143.    “Unimpaired” means a Class of Claims or Interests that is not Impaired.

        144.    “U.S. Trustee” means the Office of the United States Trustee for Region 6.

       145. “World Class” means, collectively, World Class Holdings I, LLC, World Class
 Holdings, LLC, and World Class Holding Company, LLC

        B.      Rules of Interpretation

          For purposes of this Plan and unless otherwise provided herein: (1) each term, whether
 stated in the singular or the plural, will include both the singular and the plural; (2) any reference
 to a contract, instrument, release, or other agreement or document being in a particular form or on
 particular terms and conditions means that such document will be substantially in such form or
 substantially on such terms and conditions; (3) any reference herein to an existing document,
 schedule, exhibit, or annex, shall mean that document, schedule, exhibit, or annex, as it may
 thereafter be amended, modified, or supplemented; (4) any reference to an Entity as a Holder of a
 Claim or Interest includes that Entity’s successors and assigns; (5) all references in this Plan to
 Section(s) are references to Articles of this Plan, as the same may be amended, waived, or modified
 from time to time in accordance with the terms hereof; (6) the words “herein,” “hereof,” “hereto,”
 “hereunder,” and other words of similar import refer to this Plan as a whole and not to any
 particular Section, paragraph, or clause contained in this Plan; (7) the words “include” and
 “including,” and variations thereof, shall not be deemed to be terms of limitation and shall be
 deemed to be followed by the words “without limitation”; (8) subject to the provisions of any
 contract, certificate of incorporation, by-law, instrument, release, or other agreement or document
 entered into in connection with this Plan, the rights and obligations arising pursuant to this Plan
 shall be governed by, and construed and enforced in accordance with the applicable federal law,
 including the Bankruptcy Code and Bankruptcy Rules; (9) any term used in capitalized form herein
 that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall
 have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the
 case may be; (10) all references to docket numbers of documents Filed in these Chapter 11 Cases
 are references to the docket numbers under the Court’s CM/ECF system; (11) any immaterial
 effectuating provisions may be interpreted by the Debtors or Purchaser, as applicable, in such a
 manner that is consistent with the overall purpose and intent of this Plan all without further notice
 to or action, order, or approval of the Court or any other Entity; (12) captions and headings to
 Sections are inserted for convenience of reference only and are not intended to be a part of or to
 affect the interpretation of this Plan; and (13) any reference to an Entity’s “subsidiaries” means its
 direct and indirect subsidiaries.




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        C.      Computation of Time

        In computing any period of time prescribed or allowed by this Plan, unless otherwise
 expressly provided, the provisions of Bankruptcy Rule 9006(a) shall apply. In the event that any
 payment, distribution, act, or deadline under this Plan is required to be made or performed or
 occurs on a day that is not a Business Day, then such payment, distribution, act, or deadline shall
 be deemed to occur on the next succeeding Business Day, but if so made, performed or completed
 by such next succeeding Business Day, shall be deemed to have been completed or to have
 occurred as of the required date. Any action to be taken on the Effective Date may be taken on or
 as soon as reasonably practicable after the Effective Date.

        D.      Reference to Monetary Figures

       All references in this Plan to monetary figures shall refer to currency of the United States
 of America, unless otherwise expressly provided herein.

        E.      Controlling Document

         Except as set forth in this Plan, to the extent that any provision of the Disclosure Statement,
 the Plan Supplement, or any other order referenced in this Plan (other than the Confirmation Order)
 conflicts with or is in any way inconsistent with any provision of this Plan, this Plan shall govern
 and control. In the event of an inconsistency between the Confirmation Order and this Plan, the
 Confirmation Order shall control.

                                ARTICLE II
             ADMINISTRATIVE EXPENSE CLAIMS AND PRIORITY CLAIMS

         In accordance with section 1123(a)(1) of the Bankruptcy Code, General Administrative
 Expense Claims, Professional Claims, and Priority Tax Claims have not been classified and thus
 are excluded from the Classes of Claims and Interests set forth in Section III hereof.

        A.      General Administrative Expense Claims

         Unless otherwise agreed to by the Holder of an Allowed General Administrative Expense
 Claim and the Debtors, each Holder of an Allowed General Administrative Expense Claim that is
 unpaid as of the Effective Date shall receive, on account and in full satisfaction of such Allowed
 General Administrative Expense Claim, Cash in an amount equal to the Allowed amount of such
 General Administrative Expense Claim, to be paid in accordance with the following: (1) if a
 General Administrative Expense Claim is Allowed on or prior to the Effective Date, on the
 Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such
 Allowed General Administrative Expense Claim is due or as soon as reasonably practicable
 thereafter); (2) if such General Administrative Expense Claim is not Allowed as of the Effective
 Date, no later than thirty (30) days after the date on which an order allowing such General
 Administrative Expense Claim becomes a Final Order, or as soon as reasonably practicable
 thereafter; (3) at such time and upon such terms as may be agreed upon by such Holder and the
 Debtors; or (4) at such time and upon such terms as set forth in any other order of the Court.




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         Each Holder of a General Administrative Expense Claim that was not accrued in the
 ordinary course of business must File and serve a request for payment of such General
 Administrative Expense Claim on the Debtors no later than the Administrative Expense Claims
 Bar Date pursuant to the procedures specified in the Confirmation Order and the notice of the
 Effective Date. Holders of General Administrative Expense Claims that are required to File and
 serve a request for payment of such General Administrative Expense Claims by the Administrative
 Expense Claims Bar Date that do not File and serve such a request by the Administrative Expense
 Claims Bar Date shall be forever barred, estopped, and enjoined from asserting such General
 Administrative Expense Claims against the Debtors or their respective property, and such General
 Administrative Expense Claims shall be deemed forever discharged and released as of the
 Effective Date. Any requests for payment of General Administrative Expense Claims that are not
 properly Filed and served by the Administrative Expense Claims Bar Date shall not appear on the
 Claims Register and shall be Disallowed automatically without the need for further action by the
 Debtors, or further order of the Court.

         The Debtors may settle General Administrative Expense Claims without further Court
 approval. The Debtors may also choose to object to any General Administrative Expense Claim
 no later than sixty (60) days from the Administrative Expense Claims Bar Date, subject to
 extensions by the Court, agreement in writing of the parties, or on motion of a party in interest
 approved by the Court. Unless the Debtors or other party with standing, as applicable, object to a
 timely Filed and properly served General Administrative Expense Claim, such General
 Administrative Expense Claim will be deemed Allowed in the amount requested. In the event that
 the Debtors object to a General Administrative Expense Claim, the parties may confer to try to
 reach a settlement and, failing that, the Court will determine whether such General Administrative
 Expense Claim should be Allowed and, if so, in what amount.

        B.      Professional Claims

                1.     Final Fee Applications and Payment of Professional Claims

        All requests for payment of Professional Claims for services rendered and reimbursement
 of expenses incurred prior to the Effective Date must be Filed no later than the Administrative
 Expense Claims Bar Date. The Court shall determine the Allowed amounts of such Professional
 Claims after notice and a hearing in accordance with the procedures established by the Court. The
 Debtors shall pay Professional Claims in Cash in the amount the Court allows, including from the
 Professional Claim Reserve Account, which the Debtors will establish in trust for the Professionals
 and fund with Cash equal to the Professional Claim Reserve Amount on the Effective Date.

                2.     Professional Claim Reserve Account

         On the Effective Date, the Debtors shall fund the Professional Claim Reserve Account with
 Cash equal to the aggregate Professional Claim Reserve Amount for all Professionals. The
 Professional Claim Reserve Account shall be maintained in trust for the Professionals. Such funds
 in the Professional Claim Reserve Account shall not constitute property of the Debtors’ Estates,
 except as otherwise expressly set forth in the last sentence of this paragraph. The amount of
 Professional Claims owing to the Professionals on and after the Effective Date shall be paid in
 Cash to such Professionals from funds held in the Professional Claim Reserve Account, without


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 interest or other earnings therefrom, as soon as reasonably practicable after such Claims are
 Allowed by a Court order. When all Allowed Professional Claims have been paid in full, amounts
 remaining in the Professional Claim Reserve Account, if any, shall revert to the Debtors to be
 distributed pursuant to the terms of this Plan without any further action or order of the Court.

        Professionals shall reasonably estimate their unpaid Professional Claims Reserve Amount
 and shall deliver such estimate to the Debtors no later than five (5) days before the Effective Date;
 provided, however, that such estimate shall not be deemed to limit the amount of the fees and
 expenses that are the subject of each Professional’s final request for payment in these Chapter 11
 Cases. If a Professional does not provide an estimate, the Debtors may estimate the unpaid and
 unbilled fees and expenses of such Professional for purposes of determining the Professional
 Claims Reserve Amount.

                3.      Post-Effective Date Fees and Expenses

         Except as otherwise specifically provided in this Plan, from and after the Effective Date,
 the Debtors shall, in the ordinary course of business and without any further notice to or action,
 order, or approval of the Court, pay in Cash the reasonable and documented legal, professional, or
 other fees and expenses related to implementation and Consummation of this Plan incurred by the
 Debtors. Upon the Effective Date, any requirement that Professionals comply with sections 327
 through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or compensation for
 services rendered after such date shall terminate, and the Debtors may employ and pay any
 Professional in the ordinary course of business without any further notice to or action, order, or
 approval of the Court.

        C.      Priority Tax Claim

         Except as otherwise agreed by a Holder of an Allowed Priority Tax Claim and the Debtors,
 each Holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction of such
 Claim, Cash in an amount equal to the Allowed amount of such Priority Tax Claim, to be paid on
 the Effective Date or as soon as reasonably practicable thereafter.

                               ARTICLE III
          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

        A.      Classification of Claims and Interests

         The categories of Claims and Interests listed below classify Claims and Interests for all
 purposes, including voting, Confirmation, and Plan Distribution pursuant to sections 1122 and
 1123(a) of the Bankruptcy Code. This Plan deems a Claim or Interest to be classified in a particular
 Class only to the extent that the Claim or Interest qualifies within the description of that Class and
 shall be deemed classified in a different Class to the extent that any remainder of such Claim or
 Interest qualifies within the description of such different Class. A Claim or Interest is in a
 particular Class for purposes of distribution only to the extent that any such Claim or Interest is
 Allowed in that Class and has not been paid or otherwise settled prior to the Effective Date. In
 accordance with section 1123(a)(1) of the Bankruptcy Code and as described in Section II hereof,
 the Debtors have not classified General Administrative Expense Claims, Professional Claims, and
 Priority Tax Claims.


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        The classification of Claims and Interests against the Debtors pursuant to this Plan is as
 follows:

      Class           Claims and Interests              Status            Voting Rights
                                                                       Not Entitled to Vote
     Class 1          Other Secured Claims            Unimpaired
                                                                       (Deemed to Accept)
                                                                       Not Entitled to Vote
     Class 2          Other Priority Claims           Unimpaired
                                                                       (Deemed to Accept)
                                                                       Not Entitled to Vote
     Class 3          Senior Lender Claims            Unimpaired
                                                                       (Deemed to Accept)
                     PropCo Debtor Priority                            Not Entitled to Vote
     Class 4                                          Unimpaired
                            Claims                                     (Deemed to Accept)
                     PropCo Debtor General                             Not Entitled to Vote
     Class 5                                          Unimpaired
                       Unsecured Claims                                (Deemed to Accept)
                                                                       Not Entitled to Vote
     Class 6       Senior Mezz Lender Claims          Unimpaired
                                                                       (Deemed to Accept)
                  Senior Mezz Debtor Priority                          Not Entitled to Vote
     Class 7                                          Unimpaired
                           Claims                                      (Deemed to Accept)
                     Senior Mezz Debtor                                Not Entitled to Vote
     Class 8                                          Unimpaired
                   General Unsecured Claims                            (Deemed to Accept)
                                                                       Not Entitled to Vote
     Class 9       Junior Mezz Lender Claims          Unimpaired
                                                                       (Deemed to Accept)
                   Junior Mezz Debtor Priority                         Not Entitled to Vote
     Class 10                                         Unimpaired
                            Claims                                     (Deemed to Accept)
                  Junior Mezz Debtor General                           Not Entitled to Vote
     Class 11                                         Unimpaired
                       Unsecured Claims                                (Deemed to Accept)
                        Section 510(a)                                 Not Entitled to Vote
     Class 12                                         Unimpaired
                      Subordinated Claims                              (Deemed to Accept)
                       Junior Mezz Debtor                              Not Entitled to Vote
     Class 13                                         Unimpaired
                            Interests                                  (Deemed to Accept)
                                                                       Not Entitled to Vote
     Class 14        TopCo Debtor Interests           Unimpaired
                                                                       (Deemed to Accept)

        B.      Treatment of Claims and Interests

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under
 this Plan the treatment described below in full and final satisfaction, settlement, release, and
 discharge of and in exchange for such Holder’s Allowed Claim or Allowed Interest, except to the
 extent different treatment is agreed to by the Debtors and the Holder of such Allowed Claim or
 Allowed Interest, as applicable. Unless otherwise indicated, the Holder of an Allowed Claim or


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 Allowed Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
 reasonably practicable thereafter.

               1.      Class 1 – Other Secured Claims

                       a.     Classification. Class 1 consists of Other Secured Claims.

                       b.     Treatment. Each Holder of an Allowed Other Secured Claim shall
                              receive at the option of the Debtors:

                              (i)     payment in full in Cash;

                              (ii)    the return of the applicable collateral in satisfaction of the
                                      Allowed amount of such Other Secured Claim; or

                              (iii)   such other treatment sufficient to render such Allowed Other
                                      Secured Claim as Unimpaired.

                       c.     Voting. Class 1 is Unimpaired under the Plan. Holders of Claims
                              in Class 1 are conclusively presumed to have accepted this Plan
                              pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                              such Holders are not entitled to vote to accept or reject this Plan.

               2.      Class 2 – Other Priority Claims

                       a.     Classification. Class 2 consists of Other Priority Claims.

                       b.     Treatment. On the Effective Date, or as soon as reasonably
                              practicable thereafter, each Holder of an Allowed Other Priority
                              Claim shall receive payment in full in Cash.

                       c.     Voting. Class 2 is Unimpaired under the Plan. Holders of Claims
                              in Class 2 are conclusively presumed to have accepted this Plan
                              pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                              such Holders are not entitled to vote to accept or reject this Plan.

               3.      Class 3 – Senior Lender Claims

                       a.     Classification. Class 3 consists of Senior Lender Claims.

                       b.     Treatment. Upon the Effective Date, or as soon as reasonably
                              practicable thereafter, the Allowed amount of the Senior Lender
                              Claims shall be paid in Cash from the Net Sale Proceeds.

                       c.     Voting. Class 3 is Unimpaired under the Plan. Holders of Claims
                              in Class 3 are conclusively presumed to have accepted this Plan
                              pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                              such Holders are not entitled to vote to accept or reject this Plan.



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                  4.       Class 4 – PropCo Debtor Priority Claims

                           a.      Classification. Class 4 consists of PropCo Debtor Priority Claims.

                           b.      Treatment. On the Effective Date, or as soon as reasonably
                                   practicable thereafter the Allowed amount of the PropCo Debtor
                                   Priority Claims shall be paid in Cash from the available Net Sale
                                   Proceeds.

                           c.      Voting. Class 4 is Unimpaired under the Plan. Holders of Claims
                                   in Class 4 are conclusively presumed to have accepted this Plan
                                   pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                                   such Holders are not entitled to vote to accept or reject this Plan.

                  5.       Class 5 – PropCo Debtor General Unsecured Claims

                           a.      Classification. Class 5 consists of PropCo Debtor General
                                   Unsecured Claims. 1

                           b.      Treatment. On the Effective Date, or as soon as reasonably
                                   practicable thereafter the Allowed amount of the PropCo Debtor
                                   General Unsecured Claims, along with postpetition interest at the
                                   Federal Judgment Rate or contract rate, as applicable, shall be paid
                                   in Cash from the available Net Sale Proceeds.

                           c.      Voting. Class 5 is Unimpaired under the Plan. Holders of Claims
                                   in Class 5 are conclusively presumed to have accepted this Plan
                                   pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                                   such Holders are not entitled to vote to accept or reject this Plan.

                  6. Class 6 – Senior Mezz Lender Claims

                           a.      Classification. Class 6 consists of Senior Mezz Lender Claims.

                           b.      Treatment. On the Effective Date, or as soon as reasonably
                                   practicable thereafter, the Allowed amount of the Senior Mezz
                                   Lender Claims shall be paid in Cash from the Net Sale Proceeds.

                           c.      Voting. Class 6 is Unimpaired under the Plan. Holders of Claims
                                   in Class 6 are conclusively presumed to have accepted this Plan
                                   pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                                   such Holders are not entitled to vote to accept or reject this Plan.




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   To the extent that Class 5 includes General Unsecured Claims against multiple Debtors, the treatment of Class 5
 described herein potentially constitutes a partial substantive consolidation of the applicable Debtors.



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              7. Class 7 – Senior Mezz Debtor Priority Claims

                    a.     Classification. Class 7 consists of Senior Mezz Debtor Priority
                           Claims.

                    b.     Treatment. On the Effective Date, or as soon as reasonably
                           practicable thereafter the Allowed amount of the Senior Mezz
                           Debtor Priority Claims shall be paid in Cash from the Net Sale
                           Proceeds.

                    c.     Voting. Class 7 is Unimpaired under the Plan. Holders of Claims
                           in Class 7 are conclusively presumed to have accepted this Plan
                           pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                           such Holders are not entitled to vote to accept or reject this Plan.

              8. Class 8 – Senior Mezz Debtor General Unsecured Claims

                    A.     Classification. Class 8 consists of Senior Mezz Debtor General
                           Unsecured Claims.

                    b.     Treatment. On the Effective Date, or as soon as reasonably
                           practicable thereafter the Allowed amount of the Senior Mezz
                           Debtor General Unsecured Claims, along with postpetition interest
                           at the Federal Judgment Rate or contract rate, as applicable, shall be
                           paid in Cash from the Net Sale Proceeds.

                    c.     Voting. Class 8 is Unimpaired under the Plan. Holders of Claims
                           in Class 8 are conclusively presumed to have accepted this Plan
                           pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                           such Holders are not entitled to vote to accept or reject this Plan.

              9. Class 9 – Junior Mezz Lender Claims

                    a.     Classification. Class 9 consists of Junior Mezz Lender Claims.

                    b.     Treatment. On the Effective Date, or as soon as reasonably
                           practicable thereafter the Allowed amount of the Junior Mezz
                           Lender Claims shall be paid in Cash from the available Net Sale
                           Proceeds.

                    c.     Voting. Class 9 is Unimpaired under the Plan. Holders of Claims
                           in Class 9 are conclusively presumed to have accepted this Plan
                           pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                           such Holders are not entitled to vote to accept or reject this Plan.




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              10. Class 10 – Junior Mezz Debtor Priority Claims

                    a.     Classification. Class 10 consists of Junior Mezz Debtor Priority
                           Claims.

                    b.     Treatment. On the Effective Date, or as soon as reasonably
                           practicable thereafter the Allowed amount of the Junior Mezz
                           Debtor Priority Claims shall be paid in Cash from the available Net
                           Sale Proceeds.

                    c.     Voting. Class 10 is Unimpaired under the Plan. Holders of Claims
                           in Class 10 are conclusively presumed to have accepted this Plan
                           pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                           such Holders are not entitled to vote to accept or reject this Plan.

              11. Class 11 – Junior Mezz Debtor General Unsecured Claims

                    a.     Classification. Class 11 consists of Junior Mezz Debtor General
                           Unsecured Claims.

                    b.     Treatment. On the Effective Date, or as soon as reasonably
                           practicable thereafter the Allowed amount of the Junior Mezz
                           Debtor General Unsecured Claims, along with postpetition interest
                           at the Federal Judgment Rate or contract rate, as applicable, shall be
                           paid in Cash from the available Net Sale Proceeds.

                    c.     Voting. Class 11 is Unimpaired under the Plan. Holders of Claims
                           in Class 11 are conclusively presumed to have accepted this Plan
                           pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                           such Holders are not entitled to vote to accept or reject this Plan.

              12. Class 12 – Section 510(a) Subordinated Claims

                    a.     Classification. Class 12 consists of Section 510(a) Subordinated
                           Claims.

                    b.     Treatment. On the Effective Date, or as soon as reasonably
                           practicable thereafter the Allowed amount of the Section 510(a)
                           Subordinated Claims shall be paid in Cash from the available Net
                           Sale Proceeds.

                    c.     Voting. Class 12 is Unimpaired under the Plan. Holders of Claims
                           in Class 12 are conclusively presumed to have accepted this Plan
                           pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                           such Holders are not entitled to vote to accept or reject this Plan.




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                13. Class 13 – Junior Mezz Debtor Interests

                        a.     Classification. Class 13 consists of Junior Mezz Debtor Interests.

                        b.     Treatment. On the Effective Date, or as soon as reasonably
                               practicable thereafter, the Holders of the Junior Mezz Debtor
                               Interests shall be paid in Cash to the extent of the available Net Sale
                               Proceeds. The Interests in the Junior Mezz Debtor shall thereafter
                               be extinguished and of no further force or effect.

                        c.     Voting. Class 13 is Unimpaired under the Plan. Holders of Interests
                               in Class 13 are conclusively presumed to have accepted this Plan
                               pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                               such Holders are not entitled to vote to accept or reject this Plan.

                14. Class 14 – TopCo Debtor Interests

                        a.     Classification. Class 14 consists of TopCo Debtor Interests.

                        b.     Treatment. On the Effective Date, or as soon as reasonably
                               practicable thereafter, the Holders of the TopCo Debtor Interests
                               shall be paid in Cash to the extent of the available Net Sale
                               Proceeds. The Interests in the TopCo Debtor shall thereafter be
                               extinguished and of no further force or effect.

                        c.     Voting. Class 14 is Unimpaired under the Plan. Holders of Interests
                               in Class 14 are conclusively presumed to have accepted this Plan
                               pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                               such Holders are not entitled to vote to accept or reject this Plan.

        C.      Special Provision Governing Unimpaired Claims

         Except as otherwise provided in this Plan, nothing under this Plan shall affect the Debtors’
 rights regarding any Unimpaired or reinstated Claim, including, all rights regarding legal and
 equitable defenses to, or setoffs or recoupments against, any such Unimpaired or reinstated Claim.

        D.      Elimination of Vacant Classes

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
 Allowed Interest or a Claim or Interest temporarily Allowed by the Court as of the date of the
 Confirmation Hearing shall be deemed eliminated from this Plan for purposes of voting to accept
 or reject this Plan and for purposes of determining acceptance or rejection of this Plan by such
 Class pursuant to section 1129(a)(8) of the Bankruptcy Code.




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        E.      Acceptance or Rejection of this Plan

                1.      Presumed Acceptance of this Plan

        No Classes of Claims or Interests are Impaired under the Plan. Accordingly, each Class is
 conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
 Code.

                2.      Voting Classes

        No Classes of Claims or Interests are Impaired under the Plan. Accordingly, no Classes of
 Claims or Interests are entitled to vote to accept or reject the Plan.

        F.      Confirmation and 1129(b) of the Bankruptcy Code

         As no Classes of Claims or Interests are Impaired under the Plan, section 1129(a)(10) of
 the Bankruptcy Code is in applicable for the purposes of Confirmation. The Debtors reserve the
 right to modify this Plan in accordance with Section X.A hereof to the extent that Confirmation
 pursuant to section 1129(b) of the Bankruptcy Code requires modification to the extent permitted
 by the Bankruptcy Code and the Bankruptcy Rules. If a controversy arises as to whether any
 Claims or Interests, or any class of Claims or Interests, are Impaired, the Court shall, after notice
 and a hearing, determine such controversy on or before Confirmation.

                                    ARTICLE IV
                      MEANS FOR IMPLEMENTATION OF THIS PLAN

        A.      General Settlement of Claims and Interests

         As discussed in the Disclosure Statement and as otherwise provided herein, pursuant to
 section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
 classification, distributions, releases, and other benefits provided under this Plan, upon the
 Effective Date, the provisions of this Plan shall constitute a good faith compromise and settlement
 of all Claims and Interests and controversies resolved pursuant to this Plan, including (1) any
 challenge to the amount, validity, perfection, enforceability, priority, or extent of the Senior Lender
 Claims; (2) any challenge to the amount, validity, perfection, enforceability, priority or extent of
 the Senior Mezz Lender Claims; and (3) any challenge to the amount, validity, perfection,
 enforceability, priority, or extent of the Junior Mezz Lender Claims. This Plan shall be deemed a
 motion to approve the good faith compromise and settlement of all such Claims, Interests, and
 controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
 constitute the Court’s approval of such compromise and settlement under section 1123 of the
 Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Court that such settlement
 and compromise is fair, equitable, reasonable and in the best interests of the Debtors and their
 Estates. Subject to Section VI.K hereof, all Plan Distributions made to Holders of Allowed Claims
 and Allowed Interests (as applicable) in any Class are intended to be and shall be final.




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        B.      Sale

         The Debtors’ Assets will be marketed pursuant to the Bid Procedures and, as appropriate,
 the Revised Bid Procedures, to effectuate the Sale and to generate Sale Proceeds to be distributed
 in accordance with the Plan. The actions to implement the Sale may include: (1) the execution
 and delivery of appropriate agreements or other documents that are consistent with the terms of
 the Plan and that satisfy the applicable requirements of law and any other terms to which the
 applicable Entities may agree; (2) the execution and delivery of appropriate instruments of transfer,
 assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on
 terms consistent with the terms of the Plan; (3) the filing of appropriate certificates or articles of
 incorporation, formation, reincorporation, merger, consolidation, conversion, amalgamation,
 arrangement, continuance, or dissolution pursuant to applicable state or provincial law; and (4) all
 other actions that the applicable Entities determine to be necessary, including making filings or
 recordings that may be required by applicable law in connection with the Plan. The Confirmation
 Order shall, and shall be deemed to, pursuant to sections 363 and 1123 of the Bankruptcy Code,
 authorize, among other things, all actions as may be necessary or appropriate to effect any
 transaction described in, contemplated by, or necessary to effectuate the Plan.

                1. Cancellation of Existing Agreements

         On the Effective Date, except to the extent otherwise provided in this Plan, the Sale Order,
 or the Confirmation Order, all notes, instruments, certificates, credit agreements, indentures, and
 other similar documents evidencing Claims or Interests, shall be cancelled and the obligations of
 the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled,
 discharged, and of no force or effect. Holders of or parties to such cancelled instruments,
 securities, and other documentation will have no rights arising from or relating to such instruments,
 securities, and other documentation, or the cancellation thereof, except the rights provided for
 pursuant to this Plan.

                2. Section 1146 Exemption

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers of
 property under this Plan or pursuant to: (a) the issuance, distribution, transfer, or exchange of any
 debt, equity security, or other interest in the Debtors; (b) the Sale; (c) the creation, modification,
 consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other
 security interest, or the securing of additional indebtedness by such or other means; (d) the grant
 of collateral as security for the Debtors’ obligations under and in connection with the Mortgage
 Loan, Senior Mezz Loan, or Junior Mezz Loan, as applicable; or (e) the making, delivery, or
 recording of any deed or other instrument of transfer under, in furtherance of, or in connection
 with, this Plan or the Sale Order, including any deeds, bills of sale, assignments, or other
 instrument of transfer executed in connection with any transaction arising out of, contemplated by,
 or in any way related to this Plan or the Sale Order, shall not be subject to any document recording
 tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax,
 personal property transfer tax, sales or use tax, mortgage recording tax, Uniform Commercial Code
 filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental
 assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental
 officials or agents shall forego the collection of any such tax or governmental assessment and


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 accept for filing and recordation any of the foregoing instruments or other documents without the
 payment of any such tax, recordation fee, or governmental assessment. All filing or recording
 officers (or any other Entity with authority over any of the foregoing), wherever located and by
 whomever appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy
 Code, shall forego the collection of any such tax or governmental assessment, and shall accept for
 filing and recordation any of the foregoing instruments or other documents without the payment
 of any such tax or governmental assessment.

                3. Compliance with APA

         The Debtors shall comply with the requirements of Section 7.3 of the APA, including the
 payment and indemnification of any taxes owed pre-Closing of the Sale or during the taxable
 period that begins on or before Closing and ends after Closing (such period defined as the “Straddle
 Period” in the APA). Payment of the taxes estimated under this section shall be paid to the
 Purchaser at Closing.

                4. Effectuating Documents; Further Transactions

         On and after the Effective Date, the Debtors or Liquidating Debtors, as applicable, and
 their respective officers, directors, members, or managers (as applicable), are authorized to and
 may issue, execute, deliver, file, or record such contracts, securities, instruments, releases, and
 other agreements or documents and take such actions as may be necessary or appropriate to
 effectuate, implement, and further evidence the terms and conditions of this Plan without the need
 for any approvals, authorization, or consents except for those expressly required pursuant to this
 Plan or the Sale Order, as applicable.

        C.      Preservation of Causes of Action

                1. Maintenance of Causes of Action

         Except as otherwise provided in this Section IV or elsewhere in this Plan or the
 Confirmation Order, after the Effective Date, the Liquidating Debtors shall retain all rights to
 commence, pursue, litigate, or settle, as appropriate, any and all Causes of Action, whether existing
 as of the Petition Date or thereafter arising, in any court or other tribunal including, without
 limitation, in an adversary proceeding Filed in these Chapter 11 Cases; provided, however, that
 the foregoing shall not be deemed to include any claims or Causes of Action (i) released under
 Section VIII.C.1 hereof or (ii) exculpated under Section VIII.E hereof to the extent of any such
 exculpation. The Debtors, Liquidating Debtors, and the Estates, may, and shall have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of such Causes of Action, in each case solely to the extent of the Debtors’,
 Liquidating Debtors’, or their Estates’ interest therein, without notice to or approval from the
 Bankruptcy Court. Notwithstanding the foregoing, the Debtors or Liquidating Debtors, as
 applicable, shall retain all claims and defenses to any Allowed Claims that are Unimpaired
 pursuant to the Plan. A further description of the retained causes of action shall be filed with the
 Plan Supplement.




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                2. Preservation of All Causes of Action Not Expressly Settled or Released

         The Debtors expressly reserve all Causes of Action for later adjudication by the Debtors or
 Liquidating Debtors, as applicable, (including, without limitation, Causes of Action not
 specifically identified or of which the Debtors may presently be unaware or which may arise or
 exist by reason of additional facts or circumstances unknown to the Debtors at this time or facts or
 circumstances that may change or be different from those the Debtors now believe to exist) and,
 therefore, no preclusion doctrine, including, without limitation, the doctrines of res judicata,
 collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial, equitable or
 otherwise) or laches shall apply to such Causes of Action upon or after the Confirmation or
 Consummation of this Plan based on the Disclosure Statement, this Plan or the Confirmation
 Order, except in each case where such Causes of Action have been expressly waived, relinquished,
 released, compromised or settled in this Plan, the Confirmation Order or any other Final Order,
 including, without limitation or any other claims or Causes of Action (i) released under Section
 VIII.C.1 hereof or (ii) exculpated under Section VIII.E hereof to the extent of any such
 exculpation. In addition, the Debtors and Liquidating Debtors, as applicable, expressly reserve the
 right to pursue or adopt any claims alleged in any lawsuit in which any of the Debtors are a
 plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
 plaintiffs or co-defendants in such lawsuits.

        D.      Disputed Claims Reserve Account

         On the Effective Date, and in conjunction with making all distributions required to be made
 on the Effective Date, the Debtors shall establish the disputed claims reserve account
 (the “Disputed Claims Reserve Account”) in an amount equal to the amount of Disputed Claims
 (in addition to estimated interest due and owing, either contractually or under the Bankruptcy
 Code, to each Holder of such Disputed Claims) as of the Effective Date (the “Disputed Claims
 Reserve Funds”). The amount of the Disputed Claims Reserve Funds shall be reduced upon
 payment to Holders of Allowed Claims, with any excess Disputed Claim Reserve Funds to be
 distributed to Holders of Interests. Payments of the Disputed Claim Reserve Funds shall be made
 to the Holder of an Allowed Claim, which was previously a Disputed Claim, upon the first
 Distribution Date immediately following the date upon which such Claim became an Allowed
 Claim.

         The Disputed Claims Reserve Account shall be terminated when all Disputed Claims
 related to such account have either become Allowed Claims or Disallowed with excess Disputed
 Claim Reserve Funds to be distributed to Holders of Interests

        E.      Opt-Out Forms

        All Holders of Claims or Interests will receive an Opt-Out Form to complete and
 return if such Holder elects to opt-out of the consensual third-party releases set forth in
 Section VIII.C herein. The Opt-Out Form must be properly executed, completed, and
 delivered so as to be actually received by Omni on or before the Opt-Out Deadline.




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        F.      Closing the Chapter 11 Cases

         The Liquidating Debtors shall, promptly after the full administration of the Chapter 11
 Cases, file with the Court all documents required by Bankruptcy Rule 3022 and any applicable
 order of the Court to close the Chapter 11 Cases; provided that, as of the Effective Date, the
 Debtors or Liquidating Debtors, as applicable, may submit separate orders to the Court under
 certification of counsel previously provided to the U.S. Trustee closing certain individual Chapter
 11 Cases and changing the caption of the Chapter 11 Cases accordingly. Nothing in this Plan shall
 authorize the closing of any case effective as of a date that precedes the date any such order is
 entered. Any request for such relief shall be made on motion served on the U.S. Trustee, and the
 Court shall rule on such request after notice and a hearing. Upon the filing of a motion to close
 the last Chapter 11 Case remaining open, the Liquidating Debtors shall file a final report with
 respect to all of the Chapter 11 Cases pursuant to Local Rule 3022-1(c).

                            ARTICLE V
       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        A.      Assumption of Executory Contracts and/or Unexpired Leases

         On the Effective Date, except as otherwise provided in Section V.G and elsewhere herein
 or in the APA, all Executory Contracts and/or Unexpired Leases not otherwise assumed and
 assigned or rejected will be deemed rejected by the applicable Debtor in accordance with the
 provisions and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those
 that: (1) are identified on the Assumption Notice; (2) previously expired or terminated pursuant to
 their own terms; (3) have been previously assumed or rejected by the Debtors pursuant to a Final
 Order; (4) are the subject of a motion to reject that is pending on the Effective Date; or (5) have
 an ordered or requested effective date of rejection that is after the Effective Date.

         Such automatic assumption, assumption and assignment, or rejection, as applicable, shall
 be effective without the need for any further notice to or action, order, or approval of the Court, in
 accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy
 Code, other than any Executory Contracts and/or Unexpired Leases that: (1) have been previously
 assumed, assumed and assigned, or rejected pursuant to a Court order; (2) are the subject of a
 motion to assume, assume and assign, or reject such Executory Contract or Unexpired Leases (or
 of a Filed objection with respect to the proposed assumption, assumption and assignment, or
 rejection of such Executory Contract or Unexpired Leases) that is pending on the Effective Date;
 or (3) are a contract, release, or other agreement or document entered into in connection with the
 Plan or Sale, if applicable. The assumption and assignment or rejection of Executory Contracts
 and/or Unexpired Leases hereunder may include the assignment of certain of such contracts to
 Affiliates. Entry of the Confirmation Order shall constitute an order of the Court approving the
 assumptions, assumptions and assignments, or rejections of the Executory Contracts and/or
 Unexpired Leases as set forth in this Plan or the Assumption Notice, pursuant to sections 365(a)
 and 1123 of the Bankruptcy Code. Except as otherwise specifically set forth herein, assumptions
 and assignments or rejections of Executory Contracts and/or Unexpired Leases pursuant to this
 Plan are effective as of the Effective Date. Any motions to assume Executory Contracts and/or
 Unexpired Leases pending on the Effective Date shall be subject to approval by a Final Order on
 or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the Debtors.


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         To the maximum extent permitted by law, to the extent any provision in any Executory
 Contract and/or Unexpired Leases assumed and assigned pursuant to this Plan restricts or prevents,
 or purports to restrict or prevent, or is breached or deemed breached by, the assumption and
 assignment of such Executory Contract and/or Unexpired Leases (including any “change of
 control” provision), then such provision shall be deemed modified such that the transactions
 contemplated by this Plan shall not entitle the non-Debtor party thereto to terminate such
 Executory Contract and/or Unexpired Leases or to exercise any other default-related rights with
 respect thereto.

        Notwithstanding anything to the contrary in this Plan, the Debtors or the Purchaser,
 as applicable, reserve the right to alter, amend, modify, or supplement the Assumption
 Notice at any time up to the Designation Deadline and any Assignable Contract that would
 otherwise be automatically rejected pursuant to the terms of this Plan may be added to the
 Assumption Notice and assumed and assigned at any time prior to the Designation Deadline
 consistent with the terms of the APA, Sale Order, and this Plan.

        B.      Claims Based on Rejection of Executory Contracts and/or Unexpired Leases

         Unless otherwise provided by a Final Order of the Court, all Proofs of Claim with respect
 to Claims arising from the rejection of Executory Contracts and/or Unexpired Leases, pursuant to
 this Plan or the Confirmation Order, if any, must be Filed with the Court by the applicable
 counterparty within thirty (30) days after the later of (1) the date of entry of an order of the Court
 (including the Confirmation Order) approving such rejection; (2) the effective date of such
 rejection; or (3) the Effective Date. Notwithstanding anything to the contrary herein, the Debtors
 or Liquidating Debtors, as applicable, shall have thirty (30) days following the Filing of the Proof
 of Claim for rejection damages to object to such Claim. If such objection is timely filed by the
 Debtors or Liquidating Debtors, the Proof of Claim shall be adjudicated in accordance with the
 procedures set forth in Section VII hereof.

         Any Claims arising from the rejection of an Executory Contract and/or Unexpired
 Lease not Filed with the Court within such time will be automatically disallowed, forever
 barred from assertion, and shall not be enforceable against the Debtors, the Estates, or their
 property without the need for any objection by the Debtors or further notice to, or action,
 order, or approval of the Court or any other Entity, and any Claim arising out of the
 rejection of the Executory Contract and/or Unexpired Lease shall be deemed fully satisfied,
 released, and discharged, notwithstanding anything in the Proof of Claim to the contrary.
 All Allowed Claims arising from the rejection of the Debtors’ Executory Contracts and/or
 Unexpired Leases shall be classified as General Unsecured Claims and shall be treated in
 accordance with the appropriate Class herein.

        C.      Cure of Defaults for Assumed Executory Contracts and/or Unexpired Leases

        The Debtors shall file the Assumption Notice on or before the date that is five (5) Business
 Days following the date on which the Sale Order is entered by the Court, identifying all Assignable
 Contracts that the Debtors and Purchaser believe may be assumed and assigned in connection with
 the Sale and all Cure amounts relating thereto. The Debtors may amend the list of Assignable




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 Contracts in the Assumption Notice to add or remove certain Assignable Contracts at any point up
 until the Designation Deadline. 2

         The Assumption Notice shall include a description of the procedures for objecting to the
 proposed Cure amounts or the Purchaser’s ability to provide “adequate assurance of future
 performance thereunder” (within the meaning of section 365 of the Bankruptcy Code). Unless
 otherwise agreed in writing by the parties in the applicable Executory Contract or Unexpired
 Lease, any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed
 assumption and assignment or related Cure must be Filed and served on counsel to the Debtors no
 later than seven (7) days after the Filing of the Assumption Notice.

         Any unresolved objection to a proposed Cure that cannot be consensually resolved or
 settled prior to Confirmation may be adjudicated by the Court at the Debtors’ first omnibus setting
 following the Filing of the objection, or at such other time as such matters are brought before the
 Court, including at the Confirmation Hearing. Once any such dispute is adjudicated, the Debtors
 shall retain the right to modify, amend, or supplement the Assumption Notice up until the
 Designation Deadline.

         Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object
 to the proposed assumption and assignment or Cure will be deemed to have assented to such
 assumption and assignment and Cure, and any untimely objection shall be disallowed and forever
 barred, estopped, and enjoined from assertion, and shall not be enforceable against any Debtor or
 Purchaser without the need for any objection by the Debtors, Purchaser, or any other party in
 interest or any further notice to or action, order, or approval of the Court.

         Any Cure shall be deemed fully satisfied, released, and discharged upon payment by the
 Debtors or the Purchaser, as applicable, of the Cure; provided that nothing herein shall prevent the
 Debtors or Purchaser from paying any Cure despite the failure of the relevant counterparty to File
 such request for payment of such Cure amount. The Debtors or Purchaser, as applicable may also
 settle any Cure without any further notice to or action, order, or approval of the Court.

          The Debtors or the Purchaser, as applicable, shall pay undisputed Cures, if any, on the
 Closing of the Sale or as soon as reasonably practicable thereafter, or on such other terms as the
 parties to such Executory Contracts and/or Unexpired Leases may agree. If there is any dispute
 regarding any Cure, the ability of the Purchaser or any assignee to provide “adequate assurance of
 future performance” within the meaning of section 365 of the Bankruptcy Code, or any other
 matter pertaining to assumption, then payment of the applicable Cure amount shall occur at the
 later of (1) Closing; and (2) fourteen (14) days after entry of a Final Order resolving such dispute,
 or as may be agreed upon by the Debtors or the Purchaser, as applicable, and the counterparty to
 the Executory Contract and/or Unexpired Lease.




 2
  Notwithstanding anything herein to the contrary, in the event that any Executory Contract or Unexpired Lease is
 added to the Assumption Notice and thereby assumed and assigned after the filing of the Plan Supplement, a notice
 of Cure amount with respect to such Executory Contracts and/or Unexpired Lease will be sent promptly to the
 counterparty thereof and such counterparty shall have seven (7) days to object to such notice.



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         Assumption and assignment of any Executory Contract or Unexpired Lease pursuant to
 this Plan or otherwise shall result in the full release and satisfaction of any Cures, Claims, or
 defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
 in control or ownership interest composition or any bankruptcy-related defaults, arising at any time
 prior to the effective date of assumption. Any and all Proofs of Claim based upon Executory
 Contracts and/or Unexpired Leases that have been assumed and assigned in the Chapter 11
 Cases, including pursuant to the Confirmation Order, shall be deemed Disallowed and
 expunged as of the latest of (1) the date of entry of an order of the Court (including the
 Confirmation Order) approving such assumption and assignment; (2) the effective date of
 such assumption and assignment; and (3) the Effective Date without the need for any
 objection thereto or any further notice to or action, order, or approval of the Court.

        D.      Preexisting Obligations to the Debtors Under Executory Contracts and/or
                Unexpired Leases

         Rejection of any Executory Contract and/or Unexpired Lease pursuant to this Plan or
 otherwise shall not constitute a termination of preexisting obligations owed to the Debtors under
 such Executory Contracts and/or Unexpired Leases. In particular, notwithstanding any
 non-bankruptcy law to the contrary, the Debtors expressly reserve and do not waive any right to
 receive, or any continuing obligation of a counterparty to provide, warranties or continued
 maintenance obligations with respect to goods previously purchased by the Debtors pursuant to
 rejected Executory Contracts and/or Unexpired Leases.

        E.      Insurance Policies

         Notwithstanding anything to the contrary in the Plan, the Plan Supplement, the
 Confirmation Order, any other document related to any of the foregoing, or any other order of the
 Court, each of the Debtors’ Insurance Contracts shall be treated as Executory Contracts under this
 Plan.

         Unless otherwise provided in this Plan, on and after the Effective Date (1) the Debtors shall
 be deemed to have assumed and assigned the Insurance Contracts pursuant to sections 105 and
 365 of the Bankruptcy Code; (2) nothing shall alter, amend or otherwise modify the terms and
 conditions of the Insurance Contracts except that, on and after the Effective Date, the Purchaser
 shall become and remain jointly and severally liable in full for all of their and the Debtors’
 obligations under the Insurance Contracts, regardless of whether such obligations arise before or
 after the Effective Date, without the requirement or need for any Insurer to file a Proof of Claim
 or an Administrative Expense Claim, or to object to any Cure; and (3) the automatic stay of
 Bankruptcy Code section 362(a) and the injunction set forth in Section VIII.F hereof, if and to the
 extent applicable, shall be deemed lifted without further order of the Court, solely to permit:
 (a) claimants with valid direct action claims against an Insurer under applicable non-bankruptcy
 law to proceed with their claims; (b) Insurers to administer, handle, defend, settle, and/or pay, in
 the ordinary course of business and without further order of this Court: (i) claims where a claimant
 asserts a direct claim against any Insurer under applicable non-bankruptcy law, (ii) claims where
 an order has been entered by this Court granting a claimant relief from the automatic stay or the
 injunction set forth in Section VIII.F hereof to proceed with its claim; and (iii) all costs in relation
 to each of the foregoing; and (c) the Insurers to cancel any Insurance Contracts, and take other


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 actions relating thereto, to the extent permissible under applicable non-bankruptcy law, and in
 accordance with the terms of the Insurance Contracts.

         F.      Reservation of Rights

          Nothing contained in this Plan or the Plan Supplement shall constitute an admission by the
 Debtors or any other party that any contract is in fact an Executory Contract or Unexpired Lease
 or that any Debtors have any liability thereunder. If there is a dispute regarding whether a contract
 or lease is or was executory at the time of assumption and assignment or rejection, the Debtors
 shall have forty-five (45) days following entry of a Final Order resolving such dispute to alter their
 treatment of such contract.

         G.      Contracts and Leases Entered Into After the Petition Date

         Contracts and leases entered into after the Petition Date by any Debtor, including any
 Executory Contracts and Unexpired Leases assumed by such Debtor, will be performed by the
 applicable Debtor or Purchaser in the ordinary course of its business. Accordingly, such contracts
 and leases (including any assumed Executory Contracts and Unexpired Leases) will survive and
 remain unaffected by entry of the Confirmation Order; provided, that nothing in this Section V.G
 shall apply to contracts and leases identified as part of the Debtors’ investigation that are subject
 to avoidance pursuant to section 549 of the Bankruptcy Code.

                                     ARTICLE VI
                         PROVISIONS GOVERNING DISTRIBUTIONS

         A.      Timing and Calculation of Amounts to Be Distributed

         Unless otherwise provided in the Plan, on the initial Distribution Date (or if a Claim is not
 an Allowed Claim or Allowed Interest on the initial Distribution Date, on the next Distribution
 Date after such Claim or Interest becomes an Allowed Claim or Allowed Interest), or as soon as
 is reasonably practicable thereafter, each Holder of an Allowed Claim or Allowed Interests (as
 applicable) shall receive the full amount of the distributions that this Plan provides for Allowed
 Claims or Allowed Interests (as applicable) in the applicable Class. If and to the extent that there
 are Disputed Claims or Disputed Interests, distributions on account of any such Disputed Claims
 or Disputed Interests shall be made pursuant to the provisions set forth in Section VII. Except as
 otherwise provided in this Plan or the Proposed Lender Resolutions, Holders of Claims or Interests
 shall not be entitled to interest, dividends, or accruals on the distributions provided for in this Plan,
 regardless of whether such distributions are delivered on or at any time after the Effective Date.

         B.      Disbursing Agent

         All Plan Distributions shall be made by the Disbursing Agent. The Disbursing Agent shall
 not be required to give any bond or surety or other security for the performance of its duties unless
 otherwise ordered by the Court. Additionally, in the event that the Disbursing Agent is so
 otherwise ordered, all costs and expenses of procuring any such bond or surety shall be borne by
 the Debtors.




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        C.      Rights and Powers of Disbursing Agent

                1.      Powers of Disbursing Agent

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all Plan Distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Disbursing Agent by order of the Court, pursuant to this Plan, or as deemed by the Disbursing
 Agent to be necessary and proper to implement the provisions hereof.

                2.      Expenses Incurred on or After the Effective Date

         Except as otherwise ordered by the Court, to the extent the Disbursing Agent is an Entity
 other than the Liquidating Debtors, the amount of any reasonable fees and expenses incurred by
 such Disbursing Agent on or after the Effective Date (including taxes), and any reasonable
 compensation and expense reimbursement claims (including reasonable attorneys’ fees and
 expenses), made by such Disbursing Agent shall be paid in Cash by the Liquidating Debtors.

        D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

                1.      Record Date for Distribution

         On the Distribution Record Date, the Claims Register shall be closed and any party
 responsible for making Plan Distributions shall instead be authorized and entitled to recognize
 only those record Holders listed on the Claims Register as of the close of business on the
 Distribution Record Date. If a Claim, other than one based on a publicly traded security, is
 transferred twenty (20) or fewer days before the Distribution Record Date, the Disbursing Agent
 shall make distributions to the transferee only to the extent practical and, in any event, only if the
 relevant transfer form contains an unconditional and explicit certification and waiver of any
 objection to the transfer by the transferor.

                2.      Delivery of Distributions in General

         Except as otherwise provided herein, the Disbursing Agent shall make distributions to
 Holders of Allowed Claims and Allowed Interests (as applicable) as of the Distribution Record
 Date at the address for each such Holder as indicated on the Debtors’ records as of the date of any
 such Plan Distribution; provided, however, that the manner of such Plan Distribution shall be
 determined at the discretion of the Debtors.

                3.      Undeliverable Distributions and Unclaimed Property

        In the event that any Plan Distribution to any Holder of Allowed Claims is returned as
 undeliverable, no Plan Distribution to such Holder shall be made unless and until the Disbursing
 Agent has determined the then-current address of such Holder, at which time such Plan
 Distribution shall be made to such Holder without interest; provided, however, that such Plan
 Distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at
 the expiration of one year from the Effective Date. After such date, all unclaimed property or


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 interests in property shall revert to the Debtors automatically and without need for a further order
 by the Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or
 unclaimed property laws to the contrary), and the Claim of any Holder of Claims to such property
 or Interest in property shall be discharged and forever barred.

                4.      Surrender of Canceled Instruments or Securities

         On the Effective Date, or as soon as reasonably practicable thereafter, each Holder of a
 certificate or instrument evidencing a Claim or an Interest shall be deemed to have surrendered
 such certificate or instrument to the Disbursing Agent. Such surrendered certificate or instrument
 shall be cancelled solely with respect to the Debtors, and such cancellation shall not alter the
 obligations or rights of any non-Debtor third parties vis-à-vis one another with respect to such
 certificate or instrument, including with respect to any agreement that governs the rights of the
 Holder of a Claim or Interest or a trustee or agent under such documents, which shall continue in
 effect for purposes of allowing Holders to receive Plan Distribution under this Plan and
 maintaining priority of payment, and to preserve any applicable charging Liens and reimbursement
 and/or indemnification rights, in each case as set forth in the applicable certificates or instruments.
 Notwithstanding anything to the contrary herein, this paragraph shall not apply to certificates or
 instruments evidencing Claims or Interests that are Unimpaired under this Plan.

        E.      Manner of Payment

         All distributions of Cash to the Holders of the applicable Allowed Claims or Interests under
 this Plan shall be made by the Disbursing Agent on behalf of the Debtors. At the option of the
 Disbursing Agent, any Cash payment to be made hereunder may be made by check or wire transfer
 or as otherwise required or provided in applicable agreements.

        F.      Compliance with Tax Requirements

          In connection with this Plan, to the extent applicable, the Debtors, the Disbursing Agent,
 and any applicable withholding agent shall comply with all tax withholding and reporting
 requirements imposed on them by any Governmental Unit, and all Plan Distributions made
 pursuant to this Plan shall be subject to such withholding and reporting requirements.
 Notwithstanding any provision in this Plan to the contrary, such parties shall be authorized to take
 all actions necessary or appropriate to comply with such withholding and reporting requirements,
 including liquidating a portion of the distribution to be made under this Plan to generate sufficient
 funds to pay applicable withholding taxes, withholding distributions pending receipt of
 information necessary to facilitate such distributions, or establishing any other mechanisms they
 believe are reasonable and appropriate. The Debtors reserve the right to allocate all distributions
 made under this Plan in compliance with all applicable wage garnishments, alimony, child support,
 and other spousal awards, Liens, and encumbrances.

        G.      Allocations

        Plan Distributions with respect to Allowed Claims shall be allocated first to the principal
 amount of such Claims (as determined for federal income tax purposes) and then, to the extent the
 consideration exceeds the principal amount of the Claims, to any portion of such Claims for
 accrued but unpaid interest.


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        H.      No Post-Petition Interest on Claims

         Unless otherwise specifically provided for in this Plan, the Proposed Lender Resolutions,
 the Confirmation Order, or required by applicable bankruptcy and non-bankruptcy law, post-
 petition interest shall not accrue or be paid on any Claims, and no Holder of a Claim shall be
 entitled to interest accruing on or after the Petition Date on such Claim or right.

        I.      Foreign Currency Exchange Rates

         Except as otherwise provided in a Court order, as of the Effective Date, any Claim asserted
 in currency other than U.S. dollars shall be automatically deemed converted to the equivalent
 U.S. dollar value using the exchange rate for the applicable currency as published in The Wall
 Street Journal, National Edition, on the Effective Date.

        J.      Setoffs and Recoupments

         Except as expressly provided in this Plan, each Debtor may, pursuant to section 553 of the
 Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of
 any Allowed Claim, any and all claims, rights, and Causes of Action that such Debtor may hold
 against the Holder of such Allowed Claim to the extent such setoff or recoupment is either
 (1) agreed in amount among the relevant Debtor(s) and the Holder of the Allowed Claim; or
 (2) otherwise adjudicated by the Court or another court of competent jurisdiction; provided,
 however, that neither the failure to effectuate a setoff or recoupment nor the allowance of any
 Claim hereunder shall constitute a waiver or release by a Debtor or its successor of any and all
 claims, rights, and Causes of Action that such Debtor or its successor may possess against the
 applicable Holder. In no event shall any Holder of a Claim be entitled to recoup such Claim against
 any claim, right, or Cause of Action of the Debtors unless such Holder actually has performed such
 recoupment and provided notice thereof in writing in accordance with Section XII.F on or before
 the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such
 Holder asserts, has, or intends to preserve any right of recoupment.

        K.      Claims Paid or Payable by Third Parties

                1.      Claims Paid by Third Parties

         The Debtors shall reduce in full a Claim, and such Claim shall be disallowed without a
 Claims objection having to be Filed and without any further notice to or action, order, or approval
 of the Court, to the extent that the Holder of such Claim receives payment in full on account of
 such Claim from a party that is not a Debtor. Subject to the last sentence of this paragraph, to the
 extent a Holder of a Claim receives a Plan Distribution on account of such Claim and receives
 payment from a party that is not a Debtor on account of such Claim, such Holder shall, within
 fourteen (14) days of receipt thereof, repay or return the Plan Distribution to the applicable Debtor,
 to the extent the Holder’s total recovery on account of such Claim from the third party and under
 this Plan exceeds the amount of such Claim as of the date of any such distribution under this Plan.
 The failure of such Holder to timely repay or return such Plan Distribution shall result in the Holder
 owing the applicable Debtor annualized interest at the Federal Judgment Rate on such amount
 owed for each Business Day after the fourteen (14) day grace period specified above until the
 amount is repaid.


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                2.      Claims Payable by Third Parties

        No Plan Distributions shall be made on account of an Allowed Claim that is payable
 pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has
 exhausted all remedies with respect to such Insurance Contract. To the extent that one or more of
 the Debtors’ Insurers agrees to pay in full or in part a Claim (if and to the extent adjudicated by a
 court of competent jurisdiction or otherwise settled), then immediately upon such Insurers’
 agreement, the applicable portion of such Claim may be expunged without a Claims objection
 having to be Filed and without any further notice to or action, order, or approval of the Court.

                3.      Applicability of Insurance Policies

         Except as otherwise provided in this Plan, payments to Holders of Claims covered by
 Insurance Contracts shall be in accordance with the provisions of the applicable Insurance Contract
 and this Plan. Nothing contained in this Plan shall constitute or be deemed a waiver of any Cause
 of Action that the Debtors or any Entity may hold against any other Entity, including Insurers
 under any Insurance Contract, nor shall anything contained herein constitute or be deemed a waiver
 by such Insurers of any defenses, including coverage defenses, held by such Insurers.

                                  ARTICLE VII
                     PROCEDURES FOR RESOLVING CONTINGENT,
                       UNLIQUIDATED, AND DISPUTED CLAIMS

        A.      Allowance of Claims

         Except as otherwise set forth in this Plan, after the Effective Date, the Debtors shall have
 and retain any and all rights and defenses they had with respect to any Claim immediately before
 the Effective Date, including the Causes of Action retained pursuant to Section IV.C. Except as
 specifically provided in this Plan or an order entered by the Court in the Chapter 11 Cases, no
 Claim shall become an Allowed Claim unless and until such Claim is deemed Allowed in
 accordance with this Plan. With respect to the Senior Lender, Senior Mezz Lender, and Junior
 Mezz Lender Claims, the Debtors have resolved such Claims pursuant to the Proposed Lender
 Resolutions, subject to Court approval. To the extent Court approval of the Proposed Lender
 Resolutions is not received prior to Confirmation, the Debtors shall reserve those disputed portions
 of the Senior Lender, Senior Mezz Lender, and Junior Mezz Lender Claims in the Disputed Claims
 Reserve Account pursuant to the procedures set forth herein. Those undisputed portions of the
 Senior Lender, Senior Mezz Lender, and Junior Mezz Lender Claims shall be satisfied pursuant to
 this Plan as of the Effective Date.

        B.      Claims Administration Responsibilities

        Except as otherwise specifically provided in this Plan, after the Effective Date the Debtors
 may: (1) File, withdraw, or litigate to judgment, objections to Claims; (2) settle or compromise
 any Disputed Claim without any further notice to or action, order, or approval by the Court; and
 (3) administer and adjust the Claims Register to reflect any such settlements or compromises or
 other payments without any further notice to or action, order, or approval by the Court.




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        C.      Adjustment to Claims Without Objection

          Any duplicate Claim or any Claim that has been paid, satisfied, amended, or superseded
 may be adjusted or expunged on the Claims Register by the Debtors without such Debtor having
 to File an application, motion, complaint, objection, or any other legal proceeding seeking to object
 to such Claim or Interest and without any further notice to or action, order, or approval of the
 Court.

        D.      Time to File Objections to Claims

         Except as otherwise set forth herein, any objections to Claims shall be served and Filed by
 the Claims Objection Deadline. All Claims not objected to by the Claims Objection Deadline shall
 be deemed Allowed unless such deadline is extended upon approval of the Court.

        E.      Disallowance of Claims or Interests

         All Claims of any Entity from which property is sought by the Debtors under sections 542,
 543, 550, or 553 of the Bankruptcy Code or that the Debtors allege is a transferee of a transfer that
 is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code shall be Disallowed pursuant to section 502(d) of the Bankruptcy Code if: (1) the Entity, on
 the one hand, and the Debtors on the other hand, agree or the Court has determined by Final Order
 that such Entity or transferee is liable to turn over any property or monies under any of the
 aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to
 turn over such property by the date set forth in such agreement or Final Order.

        Except as provided herein or otherwise agreed to by the Debtors in their sole discretion,
 any and all Claims evidenced by Proofs of Claims Filed after the applicable Bar Date shall be
 deemed Disallowed as of the Effective Date without any further notice to or action, order, or
 approval of the Court, and Holders of such Claims may not receive any distributions on account
 of such Claims, unless such late Proof of Claim has been deemed timely-Filed by a Final Order.

        F.      Amendments to Proofs of Claim

         On or after the earlier of (1) the Effective Date or (2) the Bar Date, a Proof of Claim or
 Interest may not be Filed or amended without prior authorization of the Court or the Debtors, and
 any such new or amended Proof of Claim Filed that is not so authorized before it is Filed shall be
 deemed Disallowed in full without any further action.

        G.      No Transfers of Claims After Effective Date

         After the Effective Date, no Holder of a Claim may sell, transfer, encumber, pledge or
 assign all or any part of its Claim except (1) to the spouse of such holder; (2) by devise or bequest;
 or (3) by operation of law. Any purported sale, transfer, encumbrance, pledge or assignment by a
 Holder of a Claim in violation of this Section VII.H shall be null and void.




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        H.      No Distributions Pending Allowance

        Notwithstanding any other provision of this Plan, if any portion of a Claim is a Disputed
 Claim, as applicable, no payment or distribution provided hereunder shall be made on account of
 such Claim unless and until such Disputed Claim becomes an Allowed Claim; provided that if
 only the Allowed amount of an otherwise valid Claim is Disputed, such Claim shall be deemed
 Allowed in the amount not Disputed and payment or distribution shall be made on account of such
 undisputed amount.

        I.      Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions
 shall be made to the Holder of such Allowed Claim, satisfying the Allowed amount in full, in
 accordance with the provisions of this Plan. As soon as reasonably practicable after the date that
 the order or judgment of the Court allowing any Disputed Claim becomes a Final Order, the
 Disbursing Agent shall provide to the Holder of such Claim the Plan Distribution to which such
 Holder is entitled under this Plan as of the Effective Date.

                              ARTICLE VIII
        SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

        A.      Discharge of Claims and Termination of Interests

          Except as otherwise specifically provided in this Plan, the Confirmation Order, or in any
 contract, instrument, or other agreement or document created pursuant to this Plan, and pursuant
 to section 1141(d) of the Bankruptcy Code, the distributions, rights, and treatment that are provided
 in this Plan shall be in complete satisfaction, discharge, and release, effective as of the Effective
 Date, of Claims (including any Intercompany Claims resolved or compromised after the Effective
 Date by the Debtors), Interests, and Causes of Action of any nature whatsoever, including any
 interest accrued on Claims or Interests from and after the Petition Date, whether known or
 unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the
 Debtors or any of their assets or properties, regardless of whether any property shall have been
 distributed or retained pursuant to this Plan on account of such Claims and Interests, including
 demands, liabilities, and Causes of Action that arose before the Effective Date, any contingent or
 non-contingent liability on account of representations or warranties issued on or before the
 Effective Date and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
 Bankruptcy Code, in each case whether or not: (1) a Proof of Claim based upon such debt or right
 is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest
 based upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code;
 or (3) the Holder of such a Claim or Interest has accepted this Plan. The Confirmation Order shall
 be a judicial determination of the discharge of all Claims and Interests subject to the occurrence of
 the Effective Date.

        B.      Release of Liens

        Except as otherwise provided in this Plan, the Confirmation Order, or in any
 contract, instrument, or other agreement or document created pursuant to this Plan, on the



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 Effective Date and concurrently with the applicable distributions made pursuant to this Plan
 and, in the case of a Secured Claim, satisfaction in full of the portion of the Secured Claim
 that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other
 security interests against any property of the Estates shall be fully released and discharged,
 and all of the right, title, and interest of any Holder of such mortgages, deeds of trust, Liens,
 pledges, or other security interests shall revert to the Debtors and their successors and
 assigns, including the Purchaser. Any Holder of such Secured Claim (and the applicable
 agents for such Holder) shall be authorized and directed, at the sole cost and expense of the
 Debtors to release any collateral or other property of any Debtor (including any cash
 collateral and possessory collateral) held by such Holder (and the applicable agents for such
 Holder), and to take such actions as may be reasonably requested by the Debtors or
 Purchaser, as applicable, to evidence the release of such Lien, including the execution,
 delivery, and Filing or recording of such releases. The presentation or Filing of the
 Confirmation Order to or with any federal, state, provincial, or local agency or department
 shall constitute good and sufficient evidence of, but shall not be required to effect, the
 termination of such Liens.

         To the extent that any Holder of a Secured Claim that has been satisfied or discharged
 in full pursuant to this Plan, or any agent for such Holder, has filed or recorded publicly any
 Liens and/or security interests to secure such Holder’s Secured Claim, then as soon as
 practicable on or after the Effective Date, such Holder (or the agent for such Holder) shall
 take any and all steps reasonably requested by the Debtors or the Purchaser, as applicable,
 that are necessary or desirable to record or effectuate the cancellation and/or extinguishment
 of such Liens and/or security interests, including the making of any applicable filings or
 recordings, and the Debtors or Purchaser shall be entitled to make any such filings or
 recordings on such Holder’s behalf.

        C.     Release of Claims and Causes of Action

               1. Releases by the Debtors and Their Estates

         Under section 1123(b) and any other applicable provisions of the Bankruptcy Code,
 and except as otherwise expressly provided in this Plan and the Sale Order, effective as of
 the Effective Date, for good and valuable consideration provided by each of the Released
 Parties, the adequacy and sufficiency of which is hereby confirmed, the Debtors and the
 Liquidating Debtors, in their respective individual capacities and as debtors in possession,
 and on behalf of themselves and their respective Estates, including, without limitation, any
 successor to the Debtors or any Estate representative appointed or selected under section
 1123(b)(3) of the Bankruptcy Code (collectively, the “Debtor Releasing Parties”) and their
 respective assets and properties will be deemed to have conclusively, absolutely,
 unconditionally, irrevocably, and forever provided a full discharge, waiver and release to
 each of the Released Parties (and each such Released Party so released shall be deemed
 forever released, waived and discharged by the Debtor Releasing Parties) (the “Debtor
 Release”) from any and all Claims, Causes of Action and any other debts, obligations, rights,
 suits, damages, actions, remedies, and liabilities whatsoever, whether known or unknown,
 foreseen or unforeseen, whether directly or derivatively held, existing as of the Effective Date
 or thereafter arising, in law, at equity or otherwise, whether for tort, contract, violations of


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 federal or state securities laws, or otherwise, based in whole or in part upon any act or
 omission, transaction, or other occurrence or circumstances existing or taking place prior to
 or on the Effective Date arising from or related in any way in whole or in part to any of (i) the
 Debtors, the Chapter 11 Cases, the marketing of any of the Debtors’ assets, the Disclosure
 Statement, this Plan, and the Sale Order, (ii) the subject matter of, or the transactions or
 events giving rise to, any Claim or Interest that is treated in this Plan, (iii) the business or
 contractual arrangements between any Debtor and any Released Parties, (iv) the negotiation,
 formulation or preparation of this Plan, the Disclosure Statement, the Sale Documents, or
 related agreements, instruments or other documents, and (v) the restructuring of Claims or
 Interests prior to or during the Chapter 11 Cases, (vi) the purchase, sale, or rescission of the
 purchase or sale of any Claim or Interest of the Debtors or the Liquidating Debtors, and/or
 (vii) the Confirmation or Consummation of this Plan or the solicitation of votes on this Plan
 that such Debtor Releasing Party would have been legally entitled to assert (whether
 individually or collectively) or that any Holder of a Claim or Interest or other Entity would
 have been legally entitled to assert for, or on behalf or in the name of, any Debtor, its
 respective Estate or any Liquidating Debtor (whether directly or derivatively) against any
 of the Released Parties; provided, however, that the foregoing provisions of this Debtor
 Release shall not operate to waive, release or otherwise impair: (i) any Causes of Action
 arising from willful misconduct, actual fraud, or gross negligence of such applicable Released
 Party as determined by Final Order of the Bankruptcy Court or any other court of
 competent jurisdiction and/or (ii) the rights of such Debtor Releasing Party to enforce this
 Plan and the contracts, instruments, releases, indentures, and other agreements or
 documents delivered under or in connection with this Plan or assumed under this Plan or
 assumed under Final Order of the Bankruptcy Court.

        The foregoing release shall be effective as of the Effective Date without further notice
 to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
 or rule or the vote, consent, authorization or approval of any Person and the Confirmation
 Order will permanently enjoin the commencement or prosecution by any Person or Entity,
 whether directly, derivatively or otherwise, of any claims, obligations, suits, judgments,
 damages, demands, debts, rights, Causes of Action or liabilities released under this Debtor
 Release. Notwithstanding the foregoing, nothing in this Section VIII.C shall or shall be
 deemed to prohibit the Debtors or the Liquidating Debtors from asserting and enforcing any
 claims, obligations, suits, judgments, demands, debts, rights, Causes of Action or liabilities
 they may have against any Person that is based upon an alleged breach of a confidentiality
 or non-compete obligation owed to the Debtors or the Liquidating Debtors, unless otherwise
 expressly provided for in this Plan.

        Entry of the Confirmation Order shall constitute the Court’s approval, pursuant to
 Bankruptcy Rule 9019, of the Debtor Release set forth in this Section VIII.C, which includes
 by reference each of the related provisions and definitions contained in this Plan, and
 further, shall constitute the Court’s finding that the Debtor Release is: (1) in exchange for
 the good and valuable consideration provided by the Released Parties; (2) a good faith
 settlement and compromise of the Claims released by the Debtor Release; (3) in the best
 interests of the Debtors and their Estates; (4) fair, equitable, and reasonable; (5) given and
 made after due notice and opportunity for hearing.



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               2. Release by Third Parties

         Except as otherwise expressly provided in this Plan, effective as of the Effective Date,
 to the fullest extent permitted by applicable law, for good and valuable consideration
 provided by each of the Released Parties, the adequacy and sufficiency of which is hereby
 confirmed, and without limiting or otherwise modifying the scope of the Debtor Release
 provided by the Debtor Releasing Parties above, each Non-Debtor Releasing Party (together
 with the Debtor Releasing Parties, the “Releasing Parties”) will be deemed to have
 conclusively, absolutely, unconditionally, irrevocably, and forever provided a full discharge,
 waiver and release to each of the Released Parties (and each such Released Party so released
 shall be deemed forever released, waived and discharged by the Non-Debtor Releasing
 Parties) (the “Third Party Release”) from any and all Claims, Causes of Action and any
 other debts, obligations, rights, suits, damages, actions, remedies, and liabilities whatsoever,
 whether known or unknown, foreseen or unforeseen, whether directly or derivatively held,
 existing as of the Effective Date or thereafter arising, in law, at equity or otherwise, whether
 for tort, contract, violations of federal or state securities laws, or otherwise, based in whole
 or in part upon any act or omission, transaction, or other occurrence or circumstances
 existing or taking place prior to or on the Effective Date arising from or related in any way
 in whole or in part to any of (i) the Debtors, the Chapter 11 Cases, the marketing of any of
 the Debtors’ assets, the Disclosure Statement, the Plan, and the Sale Order, (ii) the subject
 matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in
 the Plan, (iii) the business or contractual arrangements between any Debtor and any
 Released Parties, (iv) the negotiation, formulation, or preparation of the Plan, the Disclosure
 Statement, the Sale Documents, or related agreements, instruments or other documents,
 (v) the restructuring of Claims or Interests prior to or during the Chapter 11 Cases, (vi) the
 purchase, sale, or rescission of the purchase or sale of any Claim or Interest of the Debtors
 or the Liquidating Debtors, and/or (vii) the Confirmation or Consummation of the Plan that
 such Non-Debtor Releasing Party would have been legally entitled to assert (whether
 individually or collectively) against any of the Released Parties; provided, however, that the
 foregoing provisions of this Third Party Release shall not operate to waive, release or
 otherwise impair: (i) any Causes of Action arising from willful misconduct, actual fraud, or
 gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction; (ii) any of the indebtedness
 and obligations of the Debtors and/or the Liquidating Debtors incurred under the Plan and
 the contracts, instruments, releases, indentures, and other agreements and documents
 delivered under or in connection with the Plan or assumed under the Plan or assumed under
 Final Order of the Bankruptcy Court; (iii) the rights of such Non-Debtor Releasing Party to
 enforce the Plan and the contracts, instruments, releases, indentures, and other agreements
 and documents delivered under or in connection with the Plan or assumed under the Plan
 or assumed under Final Order of the Bankruptcy Court; and/or (iv) any objections with
 respect to any Professional’s final fee application or Professional Claims in these Chapter 11
 Cases.

        The foregoing release shall be effective as of the Effective Date without further notice
 to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
 or rule or the vote, consent, authorization or approval of any Person and the Confirmation
 Order will permanently enjoin the commencement or prosecution by any Person or Entity,


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 whether directly, derivatively or otherwise, of any claims, obligations, suits, judgments,
 damages, demands, debts, rights, Causes of Action or liabilities released under this Third
 Party Release.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
 of the Third Party Release, which includes by reference each of the related provisions and
 definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding
 that the Third Party Release is: (i) in exchange for the good and valuable consideration
 provided by the Released Parties; (ii) a good faith settlement and compromise of the Claims
 released by the Third Party Release; (iii) in the best interest of the Debtors and all Holders
 of Claims and Interests; (iv) fair, equitable and reasonable; and (v) given and made after due
 notice and opportunity for hearing.

        D.      Waiver of Statutory Limitations on Releases

         Each of the Releasing Parties in each of the releases contained above expressly
 acknowledges that although ordinarily a general release may not extend to Claims which the
 Releasing Party does not know or suspect to exist in its favor, which if known by it may have
 materially affected its settlement with the party released, they have carefully considered and taken
 into account in determining to enter into the above releases the possible existence of such unknown
 losses or claims. Without limiting the generality of the foregoing, each Releasing Party expressly
 waives any and all rights conferred upon it by any statute or rule of law which provides that a
 release does not extend to claims which the claimant does not know or suspect to exist in its favor
 at the time of providing the release, which if known by it may have materially affected its
 settlement with the Released Party. The releases contained in this Plan are effective regardless of
 whether those released matters are presently known, unknown, suspected or unsuspected, foreseen
 or unforeseen.

        E.      Exculpation

        Effective as of the Effective Date, the Exculpated Parties shall neither have nor incur
 any liability to any Entity for any claims or Causes of Action arising prior to or on the
 Effective Date for any act taken or omitted to be taken in connection with, or related to,
 formulating, negotiating, preparing, disseminating, implementing, administering,
 confirming, or effecting the Confirmation or Consummation of this Plan, the Disclosure
 Statement, the Sale Documents or any contract, instrument, release or other agreement or
 document created or entered into in connection with this Plan or any other post-petition act
 taken or omitted to be taken in connection with the restructuring of the Debtors, the
 approval of the Sale, the Disclosure Statement or Confirmation or Consummation of this
 Plan; provided, however, that the foregoing provisions of this exculpation shall not operate to
 waive, release or otherwise impair: (i) any Causes of Action expressly set forth in and
 preserved by this Plan or the Plan Supplement; (ii) any Causes of Action arising from willful
 misconduct, actual fraud, or gross negligence of such applicable Exculpated Party as
 determined by Final Order of the Bankruptcy Court or any other court of competent
 jurisdiction; (iii) any of the indebtedness or obligations of the Debtors and/or the Liquidating
 Debtors incurred under this Plan and the contracts, instruments, releases, indentures, and
 other agreements and documents delivered under or in connection with the Plan or assumed


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 under this Plan or assumed under Final Order of the Bankruptcy Court, (iv) the rights of
 any Entity to enforce this Plan and the contracts, instruments, releases, indentures, and other
 agreements or documents delivered under or in connection with this Plan or assumed under
 this Plan or assumed under Final Order of the Bankruptcy Court; and/or (v) any objections
 with respect to any Retained Professional’s final fee application or Accrued Professional
 Compensation Claims in these Chapter 11 Cases; provided, further, that each Exculpated
 Party shall be entitled to rely upon the advice of counsel concerning its respective duties
 under, or in connection with, the above-referenced documents, actions or inactions.

        The foregoing exculpation shall be effective as of the Effective Date without further
 notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
 order, or rule or the vote, consent, authorization or approval of any Person. Notwithstanding
 the foregoing, nothing in this Section VIII.E shall or shall be deemed to prohibit the Debtors
 or the Liquidating Debtors from asserting and enforcing any claims, obligations, suits,
 judgments, demands, debts, rights, Causes of Action or liabilities they may have against any
 Person that is based upon an alleged breach of a confidentiality or non-compete obligation
 owed to the Debtors or the Liquidating Debtors, in each case unless otherwise expressly
 provided for in this Plan.

        F.     Injunction

        EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN OR THE
 CONFIRMATION ORDER, FROM AND AFTER THE EFFECTIVE DATE, ALL
 PERSONS AND ENTITIES ARE, TO THE FULLEST EXTENT PROVIDED UNDER
 SECTION 524 AND OTHER APPLICABLE PROVISIONS OF THE BANKRUPTCY
 CODE, PERMANENTLY ENJOINED FROM (I) COMMENCING OR CONTINUING, IN
 ANY MANNER OR IN ANY PLACE, ANY SUIT, ACTION OR OTHER PROCEEDING;
 (II) ENFORCING, ATTACHING, COLLECTING, OR RECOVERING IN ANY MANNER
 ANY JUDGMENT, AWARD, DECREE, OR ORDER; (III) CREATING, PERFECTING,
 OR ENFORCING ANY LIEN OR ENCUMBRANCE; (IV) ASSERTING A SETOFF OR
 RIGHT OF SUBROGATION OF ANY KIND; OR (V) COMMENCING OR CONTINUING
 IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND, IN EACH
 CASE ON ACCOUNT OF OR WITH RESPECT TO ANY CLAIM, DEMAND,
 LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, INTEREST, OR
 REMEDY RELEASED OR TO BE RELEASED, SETTLED OR TO BE SETTLED OR
 DISCHARGED OR TO BE DISCHARGED UNDER THIS PLAN OR THE
 CONFIRMATION ORDER AGAINST ANY PERSON OR ENTITY SO RELEASED OR
 DISCHARGED (OR THE PROPERTY OR ESTATE OF ANY PERSON OR ENTITY SO
 RELEASED, DISCHARGED). ALL INJUNCTIONS OR STAYS PROVIDED FOR IN
 THE CHAPTER 11 CASES UNDER SECTION 105 OR SECTION 362 OF THE
 BANKRUPTCY CODE, OR OTHERWISE, AND IN EXISTENCE ON THE
 CONFIRMATION DATE, SHALL REMAIN IN FULL FORCE AND EFFECT UNTIL
 THE EFFECTIVE DATE.




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       G.      Binding Nature of the Plan

      ON THE EFFECTIVE DATE, AND EFFECTIVE AS OF THE EFFECTIVE DATE,
 THIS PLAN SHALL BIND, AND SHALL BE DEEMED BINDING UPON, THE
 DEBTORS, THE LIQUIDATING DEBTORS, ANY AND ALL HOLDERS OF CLAIMS
 AGAINST AND INTERESTS IN THE DEBTORS, ALL PERSONS AND ENTITIES THAT
 ARE PARTIES TO OR ARE SUBJECT TO THE SETTLEMENTS, COMPROMISES,
 RELEASES, DISCHARGES, AND INJUNCTIONS DESCRIBED IN THIS PLAN, EACH
 PERSON ACQUIRING PROPERTY UNDER THIS PLAN, ANY AND ALL NON-DEBTOR
 PARTIES TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES WITH THE
 DEBTORS AND THE RESPECTIVE SUCCESSORS AND ASSIGNS OF EACH OF THE
 FOREGOING, TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
 AND NOTWITHSTANDING WHETHER OR NOT SUCH PERSON ORENTITY (I) WILL
 RECEIVE OR RETAIN ANY PROPERTY, OR INTEREST IN PROPERTY, UNDER
 THIS PLAN, OR (II) HAS FILED A PROOF OF CLAIM OR INTEREST IN THE
 CHAPTER 11 CASES.

      NOTWITHSTANDING ANY PROVISION OF THE PLAN, NOTHING IN THE
 PLAN IS INTENDED TO BE OR SHALL BE DEEMED TO BE A RELEASE,
 EXONERATION, OR INJUNCTION PROHIBITING PROSECUTION OF ANY CLAIM
 OR CAUSE OF ACTION OR DAMAGE OR ATTORNEY’S FEES AVAILABLE TO
 SETH KRETZER IN HIS CAPACITY AS RECEIVER, APPOINTED BY ANY STATE OR
 FEDERAL COURT, AND HIS SUCCESSORS AND ASSIGNS, OR PRINCETON
 CAPITAL CORPORATION, AND ITS SUCCESSORS AND ASSIGNS, AGAINST:

            1. Natin Paul and any individual related to him by blood, adoption, formal or
               informal marriage or any other relationship, including his parents and
               siblings, or any friend or associate;

            2. Any company or partnership, currently or formerly, directly or indirectly,
               owned or controlled or managed by Natin Paul that is not a Debtor in these
               Chapter 11 Cases, created or incorporated at any time, regardless of any such
               company’s or partnership’s affiliation with any Debtor and including any such
               company’s or partnership’s successors and assigns;

            3. Any alleged trustee of any alleged trust created or settled at any time by Natin
               Paul or any Person related to him by blood, adoption, formal or informal
               marriage or any other relationship, including his parents and siblings, or any
               friend or associate, or an attorney or agent for any of them, or a corporate or
               partnership entity in which any of them own an interest or control or
               management, and including any such individual’s or company’s or
               partnership’s successors and assigns;

            4. Any alleged trustee of any alleged trust created or settled at any time in which
               a trustee is alleged to be Natin Paul or any Person related to him by blood,
               adoption, formal or informal marriage or any other relationship, including his
               parents or siblings, or any friend or associate, or an attorney or agent for any


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                of them, or a corporate or partnership entity in which any of them own an
                interest or control or management, and including any such individual’s or
                company’s or partnership’s successors and assigns

             5. Any alleged trustee of any alleged trust created or settled at any time in which
                a beneficiary is alleged to be Natin Paul or any Person related to him by blood,
                adoption, formal or informal marriage or any other relationship, including his
                parents, siblings and children, or any friend or associate, or an attorney or
                agent for any of them, or a corporate or partnership entity in which any of
                them own an interest or control or management, and including any such
                individual’s or company’s or partnership’s successors and assigns;

    6. Robert R. Burford, Brent Perry, M. Kevin Powers, Zachary Carlson and Burford
       Perry, LLP, for any claims for recovery of money by Mr. Kretzer, Receiver, in cause
       number 2021-77945, in the 133rd District Court, Harris County, Texas, or in any other
       federal or state court action, or in any arbitration proceeding; and


    7. Any other Person, individual, trust, trustee, company, partnership or entity not
       expressly released by name pursuant to this Plan.

        H.      Protections Against Discriminatory Treatment

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the
 U.S. Constitution, all Entities, including Governmental Units, shall not discriminate against the
 Debtors or Purchaser, as applicable, or deny, revoke, suspend, or refuse to renew a license, permit,
 charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to
 such a grant against, the Debtors, the Purchaser, or another Entity with whom the Debtors have
 been associated, solely because each Debtor has been a debtor under chapter 11 of the Bankruptcy
 Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the
 Chapter 11 Cases but before the Debtors are granted or denied a discharge), or has not paid a debt
 that is dischargeable in the Chapter 11 Cases.

        I.      Reimbursement or Contribution

         If the Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
 section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as
 of the time of allowance or disallowance, such Claim shall be forever disallowed and expunged
 notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date:
 (1) such Claim has been adjudicated as non-contingent; or (2) the relevant Holder of a Claim has
 Filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been entered
 prior to the Confirmation Date determining such Claim as no longer contingent.




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                                   ARTICLE IX
                     CONDITIONS PRECEDENT TO CONFIRMATION
                        AND CONSUMMATION OF THIS PLAN

        A.      Conditions Precedent to the Effective Date

        The following shall be conditions precedent to the Effective Date (collectively,
 the “Conditions Precedent”):

                1.      The Court shall have entered the Confirmation Order, which shall be a Final
 Order or not subject to a stay pending appeal, and shall:

                       (a)     authorize the Debtors to take all actions necessary to enter into,
                               implement, and consummate the contracts, instruments, releases,
                               leases, indentures, and other agreements or documents created in
                               connection with the this Plan;

                       (b)     decree that the provisions of the Confirmation Order and this Plan
                               are non-severable and mutually dependent;

                       (c)     authorize the Debtors, as applicable/necessary, to: (i) implement the
                               Sale; (ii) make all distributions and issuances as required under this
                               Plan; and (iii) enter into any agreements, transactions, and sales of
                               property as set forth in this Plan and Plan Supplement;

                       (d)     authorize the implementation of this Plan in accordance with its
                               terms;

                       (e)     provide that, pursuant to section 1146 of the Bankruptcy Code, the
                               assignment or surrender of any lease or sublease, and the delivery of
                               any deed or other instrument or transfer order, in furtherance of, or
                               in connection with this Plan, including any deeds, bills of sale, or
                               assignments executed in connection with any disposition or transfer
                               of assets contemplated under this Plan, shall not be subject to any
                               stamp, real estate transfer, mortgage recording, or other similar tax;
                               and

                       (f)     authorize the payment into the Professional Claim Reserve Account,
                               on or prior to the Effective Date, of the Professional Claim Reserve
                               Amount, all in accordance with the terms of each Professional’s
                               engagement letter and subject to a hearing on final fee applications,
                               as necessary.

                2.     The Debtors shall have obtained all authorizations, consents, regulatory
                       approvals, rulings, or documents that are necessary to implement and
                       effectuate this Plan.




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                3.      The final versions of the Plan Supplement and all of the schedules,
                        documents, annexes, and exhibits contained therein shall have been Filed in
                        a manner consistent in all material respects with this Plan in form and
                        substance reasonably acceptable to the Debtors.

                4.      The Plan Supplement documents shall have been executed by the applicable
                        parties thereto and all conditions precedent to the effectiveness of the
                        applicable Plan Supplement documents shall have been satisfied or waived
                        in accordance with the terms of such Plan Supplement documents.

                5.      All conditions to Closing the Sale set forth in the APA shall have been
                        satisfied; provided that Closing shall not occur until a date to be determined
                        following Confirmation.

                6.      The APA shall have been executed and remain in full force and effect.

                7.      All reasonable and documented Allowed Professional Claims shall have
                        been paid in full in Cash.

                8.      The Debtors shall have implemented the Sale in a manner consistent with
                        this Plan.

        B.      Waiver of Conditions

        The Debtors may waive any one or more of the Conditions Precedent to the Effective Date,
 without notice, leave, or order of the Court or any formal action other than proceeding to confirm
 or consummate the Plan.

        C.      Effect of Failure of Conditions

         If Consummation does not occur, this Plan shall be null and void in all respects and nothing
 contained in this Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any
 Claims by the Debtors, or Claims against, or Interests in, the Debtors; (2) prejudice in any manner
 the rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or (3) constitute
 an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders of Claims or
 Interests, or any other Entity.

        D.      Substantial Consummation

        “Substantial Consummation” of this Plan, as defined in section 1101(2) of the Bankruptcy
 Code, shall be deemed to occur on the Effective Date.




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                               ARTICLE X
          MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN

        A.      Modification and Amendments

         Except as otherwise specifically provided in this Plan, the Debtors reserve the right to
 modify this Plan whether such modification is material or immaterial, and seek Confirmation
 consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
 Subject to those restrictions on modifications set forth in this Plan and the requirements of section
 1127 of the Bankruptcy Code, Bankruptcy Rule 3019, and, to the extent applicable, sections 1122,
 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its respective
 rights to revoke or withdraw, or to alter, amend, or modify this Plan with respect to such Debtor,
 one or more times, after Confirmation, and, to the extent necessary may initiate proceedings in the
 Court to so alter, amend, or modify this Plan, or remedy any defect or omission, or reconcile any
 inconsistencies in this Plan, the Disclosure Statement, or the Confirmation Order, in such matters
 as may be necessary to carry out the purposes and intent of this Plan.

        B.      Effect of Confirmation on Modifications

         Entry of the Confirmation Order shall mean that all modifications or amendments to this
 Plan since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code
 and do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

        C.      Revocation or Withdrawal of Plan

         The Debtors reserve the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan,
 or if Confirmation or Consummation does not occur, then: (1) this Plan shall be null and void in
 all respects; (2) any settlement or compromise embodied in this Plan (including the fixing or
 limiting to an amount certain of any Claim or Interest or Class of Claims or Interests), assumption
 or rejection of Executory Contracts and/or Unexpired Leases effected under this Plan, and any
 document or agreement executed pursuant to this Plan, shall be deemed null and void; and
 (3) nothing contained in this Plan shall: (a) constitute a waiver or release of any Claims or Interests;
 (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an
 admission, acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                       ARTICLE XI
                                RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
 Date, on and after the Effective Date, the Court shall retain jurisdiction over all matters arising out
 of, or relating to, the Chapter 11 Cases and this Plan pursuant to sections 105(a) and 1142 of the
 Bankruptcy Code, including jurisdiction to:

        A.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
 secured or unsecured status, or amount of any Claim or Interest, including the resolution of any




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 request for payment of any Administrative Expense Claim and the resolution of any and all
 objections to the secured or unsecured status, priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in
 part, any applications for allowance of compensation or reimbursement of expenses to
 Professionals authorized pursuant to the Bankruptcy Code or this Plan;

         C.      resolve any matters related to: (1) the assumption, assumption and assignment, or
 rejection of any Executory Contract or Unexpired Lease to which a Debtor is party or with respect
 to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims
 arising therefrom, including Cures pursuant to section 365 of the Bankruptcy Code; (2) any
 potential contractual obligation under any Executory Contract or Unexpired Lease that is assumed
 and assigned; (3) the Debtors amending, modifying, or supplementing, after the Effective Date,
 pursuant to Section V hereof, any Executory Contracts to the list of Executory Contracts and
 Unexpired Leases to be assumed or rejected or otherwise; and (4) any dispute regarding whether
 a contract is or was executory or expired;

        D.      ensure that distributions to Holders of Allowed Claims and Allowed Interests (as
 applicable) are accomplished pursuant to the provisions of this Plan;

         E.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
 litigated matters, and any other matters, and grant or deny any applications involving a Debtor that
 may be pending on the Effective Date;

       F.     adjudicate, decide, or resolve any and all matters related to section 1141 of the
 Bankruptcy Code;

         G.      enter and implement such orders as may be necessary to execute, implement, or
 consummate the provisions of this Plan and all contracts, instruments, releases, indentures, and
 other agreements or documents created in connection with this Plan or the Disclosure Statement,
 except to the extent that a Plan Supplement document provides for exclusive jurisdiction and venue
 in another forum;

        H.      enter and enforce any order for the sale of property pursuant to sections 1123, or
 1146(a) of the Bankruptcy Code;

         I.     resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
 in connection with the Consummation, interpretation, or enforcement of this Plan or any Entity’s
 obligations incurred in connection with this Plan;

        J.     issue injunctions, enter and implement other orders, or take such other actions as
 may be necessary to restrain interference by any Entity with Consummation or enforcement of this
 Plan;

         K.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect
 to the releases, injunctions, exculpations, and other provisions contained in Section VIII hereof
 and enter such orders as may be necessary or appropriate to implement such releases, injunctions,
 and other provisions;


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         L.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
 to the repayment or return of distributions and the recovery of additional amounts owed by the
 Holder of a Claim or Interest for amounts not timely repaid pursuant to Section VI.K hereof;

        M.    enter and implement such orders as are necessary if the Confirmation Order is for
 any reason modified, stayed, reversed, revoked, or vacated;

        N.      determine any other matters that may arise in connection with or relate to this Plan,
 the Plan Supplement, the Disclosure Statement, the Sale Order, if applicable, the Confirmation
 Order, or any contract, instrument, release, indenture, or other agreement or document created in
 connection with this Plan or the Disclosure Statement, except to the extent that any Plan
 Supplement document provides for exclusive jurisdiction and venue in another forum;

         O.     enter an order concluding or closing the Chapter 11 Cases;

         P.     adjudicate any and all disputes arising from or relating to distributions under this
 Plan;

        Q.      consider any modifications of this Plan, to cure any defect or omission, or to
 reconcile any inconsistency in any Court order, including the Confirmation Order;

        R.      determine requests for the payment of Claims and Interests entitled to priority
 pursuant to section 507 of the Bankruptcy Code;

         S.      hear and determine disputes arising in connection with the interpretation,
 implementation, or enforcement of this Plan or the Confirmation Order, including disputes arising
 under agreements, documents, or instruments executed in connection with this Plan, except to the
 extent that any Plan Supplement document provide for exclusive jurisdiction and venue in another
 forum;

        T.      hear and determine matters concerning state, local, and federal taxes in accordance
 with sections 346, 505, and 1146 of the Bankruptcy Code;

        U.     hear and determine all disputes involving the existence, nature, scope, or
 enforcement of any exculpations, discharges, injunctions, and releases granted in this Plan,
 including under Section VIII hereof;

         V.     enforce all orders previously entered by the Court; and

         W.     hear any other matter not inconsistent with the Bankruptcy Code.

        As of the Effective Date and notwithstanding anything in this Section XI to the
 contrary, the APA, and any other documents related thereto, shall be governed by the
 jurisdictional provisions therein, and the Court shall not retain jurisdiction with respect
 thereto.




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                                       ARTICLE XII
                                MISCELLANEOUS PROVISIONS

        A.      Immediate Binding Effect

         Subject to Section IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h),
 or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of this Plan (including,
 the documents and instruments contained in the Plan Supplement) shall be immediately effective
 and enforceable and deemed binding upon the Debtors, any and all Holders of Claims or Interests
 (irrespective of whether such Claims or Interests are deemed to have accepted this Plan), all
 Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and
 injunctions described in this Plan, each Entity acquiring property under this Plan, and any and all
 non-Debtor parties to Executory Contracts or Unexpired Leases with the Debtors.

        B.      Additional Documents

         On or before the Effective Date, the Debtors may File with the Court such agreements and
 other documents as may be necessary to effectuate and further evidence the terms and conditions
 of this Plan. The Debtors, all Holders of Claims or Interests receiving Plan Distributions pursuant
 to this Plan, and all other parties in interest shall, from time to time, prepare, execute, and deliver
 any agreements or documents and take any other actions as may be necessary or advisable to
 effectuate the provisions and intent of this Plan.

        C.      Payment of Statutory Fees

        All fees payable to the U.S. Trustee under 28 U.S.C. § 1930(a)(6) (including interest under
 31 U.S.C. § 3717) as of the Confirmation Date will be paid on the Effective Date or as soon as
 reasonably practicable thereafter. Notwithstanding anything to the contrary in the Plan, such fees
 are not subject to an allowance procedure under 11 U.S.C. § 503(b), nor is the U.S. Trustee
 required to file a request for payment of such fees.

         Following confirmation, the Debtors shall pay quarterly fees to the U.S. Trustee to the
 extent, and in the amounts, required by 28 U.S.C. § 1930(a)(6) (including interest under 31 U.S.C.
 § 3717). Quarterly fees shall be payable for any case that is reopened. So long as the Debtors or
 are required to make these payments, the Debtors shall file with the Court quarterly reports in the
 form specified by the U.S. Trustee for that purpose.

        D.      Reservation of Rights

         Except as expressly set forth in this Plan, this Plan shall have no force or effect unless the
 Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect
 if the Effective Date does not occur. None of the Filing of this Plan, any statement or provision
 contained in this Plan, or the taking of any action by any Debtor with respect to this Plan, the
 Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an admission or
 waiver of any rights of any Debtor with respect to the Holders of Claims or Interests prior to the
 Effective Date.




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        E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
 Affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if
 any, of each Entity.

        F.      Notices

         All notices , requests, and demands to or upon the Debtors to be effective shall be in writing
 (including by facsimile transmission) and, unless otherwise expressly provided herein, shall be
 deemed to have been duly given or made when actually delivered or, in the case of notice by
 facsimile transmission, when received and telephonically confirmed, addressed as follows:

                      Debtors                                   Counsel to the Debtors
                GVS Texas Holdings I, LLC                          Sidley Austin LLP
             1085 Old Clemson Highway, Ste E               2021 McKinney Avenue, Ste. 2000
                        Box No. 205                                Dallas, TX 75201
                     Seneca, SC 29672                  Attention: Thomas R. Califano and Charles
                Attention: Robert Albergotti                            Persons
                   U.S. Trustee
        Office of the United States Trustee
          Earle Cabell Federal Building
         1100 Commerce Street, Rm. 976
                Dallas, TX 75242
    Attention: Lisa Lambert, Elizabeth Young,
                and Asher Bublick

        After the Effective Date, the Debtors have the authority to send a notice to Entities that to
 continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must File a renewed
 request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
 Debtors are authorized to limit the list of Entities receiving documents pursuant to Bankruptcy
 Rule 2002 to those Entities who have Filed such renewed requests.

        G.      Term of Injunctions or Stays

         Unless otherwise provided in this Plan or in the Confirmation Order, all injunctions or stays
 in effect in these Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
 order of the Bankruptcy Court shall remain in full force and effect until the Effective Date. All
 injunctions or stays contained in this Plan or the Confirmation Order shall remain in full force and
 effect in accordance with their terms.




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         H.      Entire Agreement

       Except as otherwise indicated, this Plan (including, the documents and instruments in the
 Plan Supplement) supersedes all previous and contemporaneous negotiations, promises,
 covenants, agreements, understandings, and representations on such subjects, all of which have
 become merged and integrated into this Plan.

         I.      Exhibits and Annexes

         All exhibits, annexes, and documents attached hereto or included in the Plan Supplement
 are incorporated into and are a part of this Plan as if set forth in full in this Plan. After the exhibits,
 annexes, and documents are Filed, copies of such exhibits, annexes, and documents shall be
 available upon written request to the Debtors’ counsel at the address above or by downloading
 such exhibits, annexes, and documents from the Debtors’ restructuring website at
 https://cases.omniagentsolutions.com/gvs or the Court’s website at www.txnb.uscourts.gov. To
 the extent any exhibit, annex, or document is inconsistent with the terms of this Plan, unless
 otherwise ordered by the Court or otherwise specifically provided for in such exhibit, annex, or
 document, the non-exhibit, non-annex, or non-document portion of this Plan shall control.

         J.      Non-severability of Plan Provisions

         If prior to Confirmation, any term or provision of this Plan is held by the Court to be invalid,
 void, or unenforceable, the Court shall have the power to alter and interpret such term or provision
 to make it valid or enforceable to the maximum extent practicable, consistent with the original
 purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
 provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
 alteration, or interpretation, the remainder of the terms and provisions of this Plan will remain in
 full force and effect and will in no way be affected, impaired, or invalidated by such holding,
 alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
 shall provide that each term and provision of this Plan, as it may have been altered or interpreted
 in accordance with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to
 this Plan and may not be deleted or modified without the Debtors’ consent; and (3) non-severable
 and mutually dependent.

         K.      Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
 Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Texas,
 without giving effect to the principles of conflict of laws, shall govern the rights, obligations,
 construction, and implementation of this Plan, any agreements, documents, instruments, or
 contracts executed or entered into in connection with this Plan (except as otherwise set forth in
 those agreements, in which case the governing law of such agreement shall control), and corporate
 governance matters; provided, however, that corporate governance matters relating to the Debtors
 not incorporated in Texas shall be governed by the laws of the state of incorporation or formation
 of the relevant Debtor.




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        L.      Waiver or Estoppel

        Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert
 any argument, including the right to argue that its Claim or Interest should be Allowed in a certain
 amount, in a certain priority, secured or not subordinated by virtue of an agreement made with the
 Debtors or their counsel, or any other Entity, if such agreement was not disclosed in this Plan, the
 Disclosure Statement, or papers Filed with the Court prior to the Confirmation Date.

                           [Remainder of Page Intentionally Left Blank]




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  Dated: February 1, 2022                     Respectfully submitted,
         Dallas, Texas
                                              SIDLEY AUSTIN LLP


                                              /s/ Thomas R. Califano
                                              SIDLEY AUSTIN LLP
                                              Thomas R. Califano (10369867)
                                              Charles M. Persons (24060413)
                                              Maegan Quejada (24105999)
                                              Jeri Leigh Miller (24102176)
                                              Juliana L. Hoffman (24106103)
                                              2021 McKinney Ave
                                              Suite 2100
                                              Dallas, Texas 75201
                                              Telephone: (214) 981-3300
                                              Facsimile: (214) 981-3400

                                              Counsel for the Debtors and
                                              Debtors in Possession




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